                         Exhibit 1




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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

RHONDA BURNETT, JEROD BREIT,
HOLLEE ELLIS, FRANCES, HARVEY, and
JEREMY KEEL, on behalf of themselves and
all others similarly situated,

                Plaintiffs,                Civil Action No. 19-CV-00332-SRB

      v.

THE NATIONAL ASSOCIATION OF
REALTORS, REALOGY HOLDINGS
CORP., HOMESERVICES OF AMERICA,
INC., BHH AFFILIATES, LLC, HSF
AFFILIATES, LLC, RE/MAX LLC, and
KELLER WILLIAMS REALTY, INC.,

                Defendants.




                  DECLARATION OF STEVE W. BERMAN
   IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF
      SETTLEMENTS WITH THE NATIONAL ASSOCIATION OF REALTORS,
               CERTIFICATION OF A SETTLEMENT CLASS,
           AND APPOINTMENT OF SETTLEMENT CLASS COUNSEL




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       I, Steve W. Berman, state under oath, as follows:

               I am the Managing Partner of Hagens Berman Sobol Shapiro LLP (“Hagens

Berman”). The Court in Moehrl v National Association of Realtors, Case No. 1:19-cv-01610-

ARW (Northern District of Illinois) (“Moehrl”) appointed my firm, together with Cohen Milstein

Sellers & Toll PLLC (“Cohen Milstein”), and Susman Godfrey LLP (“Susman Godfrey”), as Co-

Lead Class Counsel in the Moehrl litigation.

               I submit this declaration in support of Plaintiffs’ Motion for Preliminary Approval

of Settlements with the National Association of Realtors, Certification of a Settlement Class, and
Appointment of Settlement Class Counsel. Based on personal knowledge or discussions with

counsel in my firm and co-counsel regarding the matters stated herein, if called upon, I could and

would testify competently thereto.

               I have served as lead or co-lead counsel in antitrust, securities, consumer,

products liability, and employment class actions, and other complex litigation matters throughout

the country. For example, I have represented thousands of plaintiffs in large antitrust cases and

have achieved favorable results for them. I was a co-lead trial lawyer in In re National Collegiate

Athletic Association Athletic Grant-In-Aid Cap Antitrust Litigation, MDL No. 2541 (N.D. Cal.)

where the class obtained injunctive relief following a bench trial. That judgment was

unanimously affirmed by the Supreme Court in Alston v NCAA and has been credited for the

adoption of new NCAA rules allowing college athletes to monetize their name, image, and
likeness (NIL) rights. Prior to the injunction, the class settled the damages portion of the case for

$208 million, resulting in an almost complete recovery of single damages. As co-lead counsel in

In re Visa Check/Mastercard Antitrust Litigation, No. 96-cv-05238 (E.D.N.Y.), we obtained the

then largest antitrust settlement in history for consumers while challenging alleged anti-

competitive agreements among U.S. banks, Visa, and Mastercard, regarding ATM fees. I also

represented consumers in In re Optical Disk Drive Products Antitrust Litigation, No. 10-md-

2143-RS (N.D. Cal.), In re Electronic Books Antitrust Litigation, No. 11-md-02293 (DLC)
(S.D.N.Y.), and In re Lithium Ion Batteries Antitrust Litigation, No. 13-md-02430 (N.D. Cal.),



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obtaining court-approved settlements for class members in all three cases. I was approved as co-

lead counsel to represent a certified class of thousands of consumers in In re Broiler Chicken

Antitrust Litigation, No. 1:16-cv-08637 (N.D. Ill. May 27, 2022), ECF No.5644. I have

negotiated settlements for and tried numerous class and non-class cases during my decades of

practice including settlements that were at the time, the largest securities, ERISA, and

automobile defect class settlements in history.

               Proposed Settlement Class Counsel are highly experienced in the areas of antitrust

and class action litigation. They have tried antitrust class actions to verdict and prosecuted and
settled numerous others. Hagens Berman, Cohen Milstein, and Susman Godfrey—Co-Lead

Class Counsel in Moehrl—each have extensive antitrust class action experience and have

successfully prosecuted some of the most complex private antitrust cases in the last two decades.

Each has a history of winning landmark verdicts and negotiating favorable settlements for their

clients. Their collective and individual litigation experience—discussed in the memorandum of

law and exhibits filed in Support of Plaintiffs’ Motion to Appoint Interim Co-Lead Class

Counsel in the Moehrl action—amply demonstrates that these three firms have extensive

knowledge of the relevant law, as well as the resources for effective representation of Settlement

Class Plaintiffs, and the proven ability to reach superior results for parties injured by

anticompetitive practices. (Moehrl Docs. 50-1 – 50-14)

               On behalf of Plaintiffs, other Co-Lead Counsel and I personally conducted
intensive settlement negotiations with counsel for the National Association of Realtors (“NAR”)

over the course of more than a year.

               Plaintiffs and NAR executed a Settlement Agreement on March 15, 2024.

Attached as Exhibit A is a true and accurate copy of the Settlement Agreement between

Plaintiffs and NAR.

               In my opinion, and in that of highly experienced Co-Lead Counsel, the proposed

Settlement Agreement is fair, reasonable, and adequate. It provides substantial monetary and
non-monetary benefits to the Settlement Class, and it avoids the risks, costs, and delay of



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continuing protracted litigation against NAR. Details of the agreed monetary relief, changes to

business practices, and cooperation in Plaintiffs’ ongoing litigation against the non-settling

defendants are set forth in the Settlement Agreement attached as Exhibit A.

               Plaintiffs’ Co-Lead Counsel and counsel for NAR engaged in extensive arm’s-

length settlement negotiations that lasted over many months, including telephonic and in-person

mediations with a nationally recognized and highly experienced mediator. Plaintiffs and NAR

also engaged in numerous direct settlement negotiations, including several days of in-person

negotiation that culminated in the ultimate Settlement Agreement with NAR. Many of these
sessions resulted in heated exchanges and walk aways for periods of time.

               There was no collusion among counsel for the parties at any time during these

settlement negotiations. To the contrary, the negotiations were contentious, hard fought, and

fully informed. Plaintiffs sought to obtain the largest possible monetary recovery, as well as the

most impactful changes to the NAR’s business practices, to avert anticompetitive conduct going

forward. Plaintiffs further sought the most helpful cooperation possible from NAR.

               When the Settlement Agreement was executed, Co-Lead Counsel were fully

aware of the strengths and weaknesses of each side’s positions. The parties in both actions

completed over four years of extensive fact and expert discovery, including propounding and

responding to multiple sets of interrogatories and requests for production, followed by the

production of well over 5 million pages of documents from the parties and dozens of non-parties
across both actions. Plaintiffs briefed numerous discovery motions and disputed items in order to

obtain important evidence to support their claims. The parties conducted over 100 depositions in

the Moehrl action and over 80 depositions in the Burnett action. Moehrl Plaintiffs engaged six

experts and Burnett Plaintiffs engaged five experts to support their claims and to rebut arguments

from the nine experts retained by Defendants in each case. Most experts in the case were

deposed in connection with the submission of 24 expert reports in Moehrl and 19 expert reports

in Burnett. The Burnett Plaintiffs also successfully won a trial verdict against NAR and other
Defendants. The Moehrl Plaintiffs had nearly completed briefing of summary judgment. Based



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on their extensive investigative and analytical efforts, Co-Lead Counsel were well informed of

the value and consequences of the Settlement Agreements.

               Plaintiffs and Class Counsel reached the Settlement Agreement after considering

the risk and cost of litigation. Plaintiffs and Class Counsel believe the claims asserted are

meritorious and that the evidence developed to date supports the claims, but also recognize the

risk and delay of further proceedings in a complex case like this, and believe that the Settlement

confers substantial benefits upon the Settlement Class Members.

               Moreover, Plaintiffs and counsel, including counsel who is a certified CPA and
forensic fraud examiner conducted a thorough financial analysis of the ability to pay of the

National Association of Realtors, which directly affected the monetary amounts that it was

feasible to recover from NAR through settlement. In my opinion, the Settlement is fair and

reasonable in light of the financial condition of NAR.

               The Settlement Class Representatives in Moehrl approved the terms of the

Settlements.



       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed April 16, 2024, at Seattle, Washington.


                                              /s/ Steve W. Berman
                                              STEVE W. BERMAN




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                         Exhibit A




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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MISSOURI
                                    WESTERN DIVISION

RHONDA BURNETT, JEROD BREIT, HOLLEE ELLIS,
FRANCES HARVEY, and JEREMY KEEL, on behalf of
themselves and all others similarly situated,

                 Plaintiffs,

      v.
                                                             Case No. 19-cv-00332-SRB
THE NATIONAL ASSOCIATION OF REALTORS,
REALOGY HOLDINGS CORP., HOMESERVICES OF
AMERICA, INC., BHH AFFILIATES, LLC, HSF
AFFILIATES, LLC, RE/MAX, LLC, and KELLER
WILLIAMS REALTY, INC.,

                 Defendants.



                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

CHRISTOPHER MOEHRL, MICHAEL COLE, STEVE
DARNELL, JACK RAMEY, DANIEL UMPA and JANE RUH
on behalf of themselves and all others similarly situated,

                 Plaintiffs,

      v.
                                                             Case No. 1:19-cv-01610-ARW
THE NATIONAL ASSOCIATION OF REALTORS,
REALOGY HOLDINGS CORP., HOMESERVICES OF
AMERICA, INC., BHH AFFILIATES, LLC, HSF
AFFILIATES, LLC, THE LONG & FOSTER COMPANIES,
INC., RE/MAX, LLC, and KELLER WILLIAMS REALTY,
INC.,

                 Defendants.



                       CORRECTED SETTLEMENT AGREEMENT




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        This Settlement Agreement (“Settlement Agreement”) is made and entered into this 15th day

of March, 2024 (the “Execution Date”), by and between defendant the National Association of

REALTORS® and plaintiffs Rhonda Burnett, Jerod Breit, Jeremy Keel, Hollee Ellis, Frances

Harvey, Christopher Moehrl, Michael Cole, Steve Darnell, Jack Ramey, Daniel Umpa, Jane Ruh,

Don Gibson, Lauren Criss, and John Meiners (collectively “Plaintiffs”), who filed suit in the above

captioned actions and in Daniel Umpa v. The National Association of Realtors, et al., No. 23-cv-945

(W.D. Mo.), and Don Gibson v. The National Association of Realtors, et al., No. 23-cv-00788 (W.D.

Mo.) (all four actions collectively, “the Actions”), both individually and as representatives of one or

more classes of home sellers. Plaintiffs enter this Settlement Agreement both individually and on

behalf of the Settlement Class, as defined below.

        WHEREAS, in the Actions, Plaintiffs allege that the National Association of REALTORS®

participated in a conspiracy to raise, fix, maintain, or stabilize real estate commissions in violation

of Section 1 of the Sherman Act and corresponding state laws;

        WHEREAS, the National Association of REALTORS® denies Plaintiffs’ allegations in the

Actions and has asserted defenses to Plaintiffs’ claims;

        WHEREAS, the parties in Burnett proceeded to a jury trial, and the jury returned a verdict in

favor of the plaintiffs in that action;

        WHEREAS, the National Association of REALTORS® has filed post-trial motions in

Burnett pursuant to Federal Rules of Civil Procedure 50 and 59 and a motion to decertify the class,

and joined in post-trial motions filed by Keller Williams, Inc., HomeServices of America, Inc., BHH

Affiliates, LLC, and HSF Affiliates, LLC, which are pending;

        WHEREAS, the National Association of REALTORS® has filed a motion in Moehrl

pursuant to Federal Rule of Civil Procedure 56;




                                                    1
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       WHEREAS, extensive arm’s-length settlement negotiations have taken place between

Plaintiffs’ Co-Lead Counsel and counsel for the National Association of REALTORS®, including

several telephonic mediations with a nationally recognized and highly experienced mediator, two

mediations with a retired federal district judge, and a mediation with a federal magistrate judge;

       WHEREAS, the Actions will continue, including against certain other defendants, unless

Plaintiffs separately settle with those defendants;

       WHEREAS, Plaintiffs have conducted an extensive investigation into the facts and the law

regarding the claims asserted in the Actions, including more than four years of fact and expert

discovery, and have concluded that a settlement with the National Association of REALTORS®

according to the terms set forth below is fair, reasonable, and adequate and in the best interest of

Plaintiffs and the Settlement Class;

       WHEREAS, the National Association of REALTORS® believes that it is not liable for the

claims asserted and has good defenses to Plaintiffs’ claims and meritorious summary judgment and

post-trial motions, but nevertheless has decided to enter into this Settlement Agreement to avoid

further expense, inconvenience, and the distraction of burdensome and protracted litigation, to obtain

the nationwide releases, orders, and judgment contemplated by this Settlement Agreement, and to

put to rest with finality all claims that Plaintiffs and Settlement Class Members have or could have

asserted against the Released Parties, as defined below; and

       WHEREAS, the National Association of REALTORS®, in addition to the settlement

payments set forth below, has agreed to cooperate in discovery and at trial with Plaintiffs and to

implement certain practice changes, each as set forth in this Settlement Agreement.

       NOW, THEREFORE, in consideration of the agreements and releases set forth herein and

other good and valuable consideration, and intending to be legally bound, it is agreed by and between

the National Association of REALTORS® and the Plaintiffs that the Actions be settled,

                                                      2
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compromised, and dismissed with prejudice as to the National Association of REALTORS® only,

without costs to Plaintiffs, the Settlement Class, or the National Association of REALTORS® except

as provided for herein, subject to the approval of the Court, on the following terms and conditions:

A.     Definitions

       The following terms, as used in this Settlement Agreement, have the following meanings:

       1.      “Burnett” means the case pending in the United States District Court for the Western

District of Missouri, Case No. 4:19-cv-00332-SRB.

       2.      “Burnett MLSs” means the multiple listing services identified as “Subject MLSs” in

Burnett.

       3.      “Co-Lead Counsel” means the following law firms:

               KETCHMARK AND MCCREIGHT P.C.
               11161 Overbrook Road, Suite 210
               Leawood, KS 66211

               BOULWARE LAW LLC
               1600 Genessee, Suite 416
               Kansas City, MO 64102

               WILLIAMS DIRKS DAMERON LLC
               1100 Main Street, Suite 2600
               Kansas City, MO 64105

               HAGENS BERMAN SOBOL SHAPIRO LLP
               1301 Second Avenue, Suite 2000
               Seattle, WA 98101

               COHEN MILSTEIN SELLERS & TOLL PLLC
               1100 New York Ave. NW, Fifth Floor
               Washington, DC 20005

               SUSMAN GODFREY L.L.P.
               1900 Avenue of the Stars, Suite 1400
               Los Angeles, CA 90067

       4.      “Court” means the United States District Court for the Western District of Missouri.




                                                  3
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       5.      “Effective” means that all conditions set forth below in the definition of “Effective

Date” have occurred.

       6.      “Effective Date” means the date when both: (a) the Court has entered a final judgment

order approving the Settlement set forth in this Settlement Agreement under Rule 23(e) of the Federal

Rules of Civil Procedure and a final judgment dismissing the Actions against the National

Association of REALTORS® with prejudice has been entered; and (b) the time for appeal or to seek

permission to appeal from the Court’s approval of the Settlement and the entry of a final judgment

has expired or, if appealed, approval of the Settlement and the final judgment have been affirmed in

their entirety by the court of last resort to which such appeal has been taken and such affirmance is

no longer subject to further appeal or review; excluding, however, any appeal or other proceedings

unrelated to this Settlement Agreement initiated by any Non-National Association of REALTORS®

Defendant, and any such appeal or other proceedings shall not delay this Settlement Agreement from

becoming final and shall not apply to this Paragraph. This Paragraph shall not be construed as an

admission that such parties have standing or other rights of objection or appeal with respect to this

Settlement. It is agreed that neither the provisions of Federal Rule of Civil Procedure 60 nor the All

Writs Act, 28 U.S.C. § 1651, shall be considered in determining the above-stated times.

       7.      “REALTOR® Member Boards” means local or state/territory real estate boards or

associations of REALTORS®, all of whose members are also members of the National Association

of REALTORS® through those boards or associations.

       8.      “Moehrl” means the case pending in the Northern District of Illinois Case No. 1:19-

cv-01610-ARW.

       9.      “Moehrl MLSs” means the multiple listing services identified as “Covered MLSs” in

Moehrl.




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        10.        “MLS PIN” means the multiple listing service identified in United States District

Court for the District of Massachusetts, Case No. 1:20-cv-12244-PBS, which is currently pending.

        11.        “REALTOR® MLS” means: (a) any separately incorporated multiple listing service

that is owned exclusively by one or more REALTOR® Member Boards as of the Execution Date

(and not in whole or part by any non-Member Board Person); or (b) any other multiple listing service

that is not separately incorporated from and is operated exclusively by a Member Board.

        12.        “Non-National Association of REALTORS® Defendant” means any defendant in the

Actions excepting the National Association of REALTORS®.

        13.        “Opt-Outs” means members of the Settlement Class who have timely exercised their

rights to be excluded from the Settlement Class or have otherwise obtained Court approval to exercise

such rights.

        14.        “Participant” means a principal broker or a brokerage firm participating in a multiple

listing service.

        15.        “Person” means an individual, corporation, partnership, limited partnership,

association, joint stock company, estate, legal representative, trust, unincorporated association,

government or any political subdivision or agency thereof, any business or legal entity, and such

individual’s or entity’s spouse, heirs, predecessors, successors, representatives, affiliates, and

assignees.

        16.        “Principal” means licensed or certified individuals who are sole proprietors, partners

in a partnership, officers or majority shareholders of a corporation, or office managers (including

branch office managers) acting on behalf of principals of a real estate firm.

        17.        “Released Claims” means any and all manner of claims, regardless of the cause of

action, arising from or relating to conduct that was alleged or could have been alleged in the Actions

based on any or all of the same factual predicates for the claims alleged in the Actions, including but

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not limited to commissions negotiated, offered, obtained, rebated, or paid to brokerages in connection

with the sale of any residential home.

       18.     “Released Parties” means:

               a.     the National Association of REALTORS®, and all of its respective past,

       present, and future, direct and indirect, subsidiaries, predecessors, successors, affiliates (all

       as defined in SEC rule 12b-2 promulgated pursuant to the Securities Exchange Act of 1934),

       institutes, societies, councils, and all of their officers, directors, managing directors,

       employees, agents, contractors, independent contractors, attorneys, legal or other

       representatives, accountants, auditors, experts, trustees, trusts, heirs, beneficiaries, estates,

       executors, administrators, insurers, and assigns.

               b.     Any REALTORS® (members of the National Association of REALTORS®),

       REALTOR-Associate® Members, and REALTOR® Member Boards that do not operate an

       unincorporated multiple listing service, and all of their respective past and present, direct and

       indirect, predecessors, successors (all as defined in SEC rule 12b-2 promulgated pursuant to

       the Securities Exchange Act of 1934), and all of their officers, directors, managing directors,

       employees, agents, contractors, independent contractors, attorneys, legal or other

       representatives, accountants, auditors, experts, trustees, trusts, heirs, beneficiaries, estates,

       executors, administrators, insurers, and assigns, that (i) is a member of the National

       Association of REALTORS® on the date of Class Notice; and (ii) complies with the practice

       changes reflected in Paragraphs 58(vi)-(x) of this Settlement Agreement and agrees to

       provide proof of such compliance if requested by Co-Lead Counsel; and (iii) does not assert

       any claims in the time period specified in Paragraph 59 they may have against the National

       Association of REALTORS®, any REALTOR® Member Boards, or any REALTOR® MLS

       based on any or all of the same factual predicates for the claims alleged in the Actions or the

                                                  6
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  practice changes in this Settlement Agreement. Any Settlement Class Member shall have the

  right to inquire of the National Association of REALTORS® as to whether a Person is a

  REALTOR®, REALTOR-Associate® Member, or REALTOR® Member Board and has

  satisfied the conditions for being a “Released Party,” and the National Association of

  REALTORS® shall promptly provide this information.

          c.      Any REALTOR® MLS (including a REALTOR® Member Board that

  operates an unincorporated multiple listing service), including its respective past and present,

  direct and indirect, subsidiaries, predecessors, successors (all as defined in SEC rule 12b-2

  promulgated pursuant to the Securities Exchange Act of 1934), and all of their officers,

  directors, managing directors, employees, agents, contractors, independent contractors,

  attorneys, legal or other representatives, accountants, auditors, experts, trustees, trusts, heirs,

  beneficiaries, estates, executors, administrators, insurers, and assigns, but only if that

  REALTOR® MLS (i) complies with the procedures and requirements reflected in Paragraph

  66 of this Settlement Agreement; (ii) complies with the practice changes reflected in

  Paragraph 68 of this Settlement Agreement and agrees to provide proof of such compliance

  if requested by Co-Lead Counsel; and (iii) does not assert any claims in the time period

  specified in Paragraph 59, they may have against the National Association of REALTORS®,

  any REALTOR® Member Boards, or any REALTOR® MLS based on any or all of the same

  factual predicates for the claims alleged in the Actions or the practice changes in this

  Settlement Agreement.

          d.      Any non-REALTOR® MLS, including its respective past and present, direct

  and indirect, subsidiaries, predecessors, successors (all as defined in SEC rule 12b-2

  promulgated pursuant to the Securities Exchange Act of 1934), and all of their officers,

  directors, managing directors, employees, agents, contractors, independent contractors,

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  attorneys, legal or other representatives, accountants, auditors, experts, trustees, trusts, heirs,

  beneficiaries, estates, executors, administrators, insurers, and assigns, but only if that non-

  REALTOR® MLS (i) complies with the procedures and requirements reflected in Paragraph

  67 of this Settlement Agreement; (ii) complies with the practice changes reflected in

  Paragraph 68 of this Settlement Agreement and agrees to provide proof of such compliance

  if requested by Co-Lead Counsel; (iii) does not assert any claims, in the time period specified

  in Paragraph 59, they may have against the National Association of REALTORS®, any

  REALTOR® Member Boards, or any REALTOR® MLS based on any or all of the same

  factual predicates for the claims alleged in the Actions or the practice changes in this

  Settlement Agreement; and (iv) pays the Settlement Class pursuant to the procedures in

  Appendix D.

          e.      Any real estate brokerage with a calendar year 2022 Total Transaction Volume

  for residential home sales of $2 billion or less, including all of their respective past, present,

  and future, direct and indirect, subsidiaries, predecessors, successors (all as defined in SEC

  rule 12b-2 promulgated pursuant to the Securities Exchange Act of 1934), and all of their

  franchisees, officers, directors, managing directors, employees, agents, contractors,

  independent contractors, attorneys, legal or other representatives, accountants, auditors,

  experts, trustees, trusts, heirs, beneficiaries, estates, executors, administrators, insurers, and

  assigns, but only if that brokerage (i) has a REALTOR® as a Principal with membership in

  the National Association of REALTORS® on the date of Class Notice; (ii) has a Principal

  who was a Participant in any MLS (including a Member Board that operates an

  unincorporated multiple listing service) at any time during the time period covered by the

  Settlement Class; (iii) complies with the practice changes reflected in Paragraphs 58(vi)-(x)

  of this Settlement Agreement and agrees to provide proof of such compliance if requested by

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  Co-Lead Counsel; and (iv) does not assert any claims, in the time period specified in

  Paragraph 59, they may have against the National Association of REALTORS®, any

  REALTOR® Member Boards, or any REALTOR® MLS based on any or all of the same

  factual predicates for the claims alleged in the Actions or the practice changes in this

  Settlement Agreement. Any Settlement Class Member shall have the right to inquire of the

  National Association of REALTORS® as to whether a Person is a REALTOR®, REALTOR-

  Associate® Member, or REALTOR® Member Board and has satisfied the conditions for

  being a “Released Party,” and the National Association of REALTORS® shall promptly

  provide this information.

         f.      Notwithstanding Paragraphs 18(a)-(e) of this Settlement Agreement, any real

  estate brokerage with a calendar year 2022 Total Transaction Volume for residential home

  sales in excess of $2 billion, including all of their respective past, present, and future, direct

  and indirect, parents subsidiaries, predecessors, successors (all as defined in SEC rule 12b-2

  promulgated pursuant to the Securities Exchange Act of 1934), and all of their franchisees,

  officers, directors, managing directors, employees, agents, contractors, independent

  contractors, attorneys, legal or other representatives, accountants, auditors, experts, trustees,

  trusts, heirs, beneficiaries, estates, executors, administrators, insurers, and assigns, but only

  if that brokerage (i) has a REALTOR® as a Principal with membership in the National

  Association of REALTORS® on the date of Class Notice; (ii) has a Principal who was a

  Participant in any MLS (including a Member Board that operates an unincorporated multiple

  listing service) at any time during the time period covered by the Settlement Class; (iii) does

  not assert any claims in the time period specified in Paragraph 59, they may have against the

  National Association of REALTORS®, any REALTOR® Member Boards, or any

  REALTOR® MLS based on any or all of the same factual predicates for the claims alleged

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  in the Actions or the practice changes in this Settlement Agreement; (iv) complies with the

  practice changes reflected in Paragraphs 58(vi)-(x) of this Settlement Agreement and agrees

  to provide proof of such compliance if requested by Co-Lead Counsel; and (v) agrees to be

  bound by the procedure and requirements reflected in Section B of Appendix C, including by

  making payments pursuant to those Paragraphs.

           g.     Notwithstanding Paragraph 18(a)-(f) of this Settlement Agreement,

  HomeServices of America, Inc., BHH Affiliates, LLC, Berkshire Hathaway Energy

  Company, Long & Foster Companies, Inc., and HSF Affiliates, LLC shall not be a “Released

  Party,” nor shall any such defendant’s past, present, and future, direct and indirect, parents

  (including holding companies), subsidiaries, related entities, associates, predecessors,

  successors, or affiliates (all as defined in SEC rule 12b-2 promulgated pursuant to the

  Securities Exchange Act of 1934), nor any of their respective franchisors, franchisees,

  officers, directors, managing directors, employees, attorneys, legal or other representatives,

  accountants, auditors, experts, trustees, trusts, heirs, beneficiaries, estates, executors,

  administrators, insurers, assigns, or independent contractor real estate agents—but only for

  the times in which they were franchisors, franchisees, officers, directors, managing directors,

  employees, attorneys, legal or other representatives, accountants, auditors, experts, trustees,

  trusts, heirs, beneficiaries, estates, executors, administrators, insurers, assigns, or independent

  contractor real estate agents of HomeServices of America, Inc., BHH Affiliates, LLC,

  Berkshire Hathaway Energy Company, Long & Foster Companies, Inc., or HSF Affiliates,

  LLC or any of their past, present, and future, direct and indirect, parents (including holding

  companies), subsidiaries, related entities, associates, predecessors, successors, or affiliates

  (all as defined in SEC rule 12b-2 promulgated pursuant to the Securities Exchange Act of

  1934).

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               h.      Notwithstanding Paragraphs 18(a)-(f) of this Settlement Agreement, no

       defendant in the Actions as of the Execution Date—other than the National Association of

       REALTORS® (which is addressed in Paragraph 18(a) of this Settlement Agreement) and

       HomeServices of America, Inc., BHH Affiliates, LLC, Berkshire Hathaway Energy

       Company, Long & Foster Companies, Inc., and HSF Affiliates, LLC (which are addressed in

       Paragraph 18(g) of this Settlement Agreement)—(i) shall be a “Released Party,” (ii) nor shall

       any such defendant’s past, present, and future, direct and indirect, parents (including holding

       companies), subsidiaries, affiliates, associates (all as defined in SEC rule 12b-2 promulgated

       pursuant to the Securities Exchange Act of 1934), predecessors, and successors, (iii) nor any

       of their respective franchisors, franchisees, officers, directors, managing directors,

       employees, attorneys, legal or other representatives, accountants, auditors, experts, trustees,

       trusts, heirs, beneficiaries, estates, executors, administrators, insurers, or assigns—but only

       for the times in which they were franchisors, franchisees, officers, directors, managing

       directors, employees, attorneys, legal or other representatives, accountants, auditors, experts,

       trustees, trusts, heirs, beneficiaries, estates, executors, administrators, insurers, or assigns of

       such a defendant. Independent contractor real estate agents affiliated with a defendant in the

       Actions, other than the National Association of REALTORS® or Persons not released under

       Paragraph 18(g), are covered by Paragraph 18(b) of this Settlement Agreement for the period

       of such affiliation.

       19.     “Releasing Parties” means Plaintiffs and any Settlement Class Members (including

any of their immediate family members, heirs, representatives, administrators, executors, devisees,

legatees, and estates, acting in their capacity as such; and for entities including any of their past,

present or future officers, directors, insurers, general or limited partners, divisions, stockholders,

agents, attorneys, employees, legal representatives, trustees, parents, associates, affiliates, joint

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ventures, subsidiaries, heirs, executors, administrators, predecessors, successors and assigns, acting

in their capacity as such solely with respect to the claims based on or derived from claims of the

Plaintiffs or Settlement Class Members).

       20.     “Settlement” means the settlement contemplated by this Settlement Agreement.

       21.     “Settlement Class” means the class of persons that will be certified by the Court for

Settlement purposes only, namely, all persons who sold a home that was listed on a multiple listing

service anywhere in the United States where a commission was paid to any brokerage in connection

with the sale of the home in the following date ranges:

                      Homes listed on Moehrl MLSs: March 6, 2015 to date of Class Notice;

                      Homes listed on Burnett MLSs: April 29, 2014

                      to date of Class Notice;

                      Homes listed on MLS PIN: December 17, 2016 to date of Class Notice;

                      Homes in Arkansas, Kentucky, and Missouri, but not on the Moehrl MLSs,

       the Burnett MLSs, or MLS PIN: October 31, 2018 to date of Class Notice;

                      Homes in Alabama, Georgia, Indiana, Maine, Michigan, Minnesota, New

       Jersey, Pennsylvania, Tennessee, Vermont, Wisconsin, and Wyoming, but not on the Moehrl

       MLSs, the Burnett MLSs, or MLS PIN: October 31, 2017 to date of Class Notice;

                      For all other homes: October 31, 2019 to date of Class Notice.

Plaintiffs and National Association of REALTORS® intend this Settlement Agreement to provide

for a nationwide class with a nationwide settlement and release.

       22.     “Settlement Class Member” means a member of the Settlement Class who does not

file a valid request for exclusion from the Settlement Class.

       23.     “Settling Parties” means Plaintiffs and the National Association of REALTORS®.



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       24.     “Total Monetary Settlement Amount” means $418.00 million. All costs of settlement,

including all payments to Settlement Class Members, all attorneys’ fees and costs, all service awards

to current and former class representatives, and all costs of Class Notice and administration, will be

paid out of the Total Monetary Settlement Amount, and the National Association of REALTORS®

will pay nothing apart from the Total Monetary Settlement Amount, except as provided in Paragraphs

37 and 40 of this Settlement Agreement.

       25.     “Total Transaction Volume” means the aggregate dollar value of all residential home

sales and purchases of a real estate brokerage, together with the aggregate dollar value of all

residential home sales and purchases of that brokerage’s direct and indirect parents (including

holding companies), subsidiaries, affiliates, associates (all as defined in SEC rule 12b-2 promulgated

pursuant to the Securities Exchange Act of 1934) and of each’s franchisees, in which each such

Person represented the buyer, the seller, or both in a real estate brokerage capacity. For any

transactions in which a real estate broker represented both the buyer and the seller, that transaction

shall be counted twice for purposes of calculating the “Total Transaction Volume.” The “Sales

Volume” reflected in the T360 Real Estate Almanac shall serve as an irrebuttable presumption of a

Person’s “Total Transaction Volume.”

B.     Stipulation to Class Certification

       26.     The Settling Parties hereby stipulate, for purposes of this Settlement only, that the

requirements of Federal Rules of Civil Procedure 23(a), 23(b)(2), and 23(b)(3) are satisfied, and,

subject to Court approval, the Settlement Class shall be certified for Settlement purposes as to the

National Association of REALTORS®. The Settling Parties stipulate and agree to the conditional

certification of the Settlement Class for purposes of this Settlement only. Should, for whatever

reason, the Settlement not become Effective, the Settling Parties’ stipulation to class certification as

part of the Settlement shall become null and void.

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       27.     Neither this Settlement Agreement, nor any statement, transaction, or proceeding in

connection with the negotiation, execution, or implementation of this Settlement Agreement should

be intended to be, construed as, or deemed to be evidence of an admission or concession by the

National Association of REALTORS® that a class should be or should have been certified for any

purposes other than settlement, and none of them shall be admissible in evidence for any such

purpose in any proceeding.

C.     Approval of this Settlement Agreement and Dismissal of the Actions

       28.     The Settling Parties agree to make reasonable best efforts to effectuate this Settlement

Agreement, including, but not limited to, seeking the Court’s approval of procedures (including the

giving of Class Notice under Federal Rules of Civil Procedure 23(c) and (e)); scheduling a final

fairness hearing to obtain final approval of the Settlement and the final dismissal with prejudice of

the Actions as to the National Association of REALTORS®; and the National Association of

REALTORS®’s cooperation by providing information reflecting its ability to pay limitations. The

Settling Parties further agree that Co-Lead Counsel may seek whatever approvals are required by the

court in Moehrl related to obtaining approval of and effectuating this Settlement Agreement.

       29.     Plaintiffs will submit to the Court a motion requesting that the Court preliminarily

approve the Settlement. The motion for preliminary approval shall include a proposed form of order

preliminarily approving the Settlement and enjoining Releasing Parties from prosecuting any

Released Claims in any forum until the Effective Date of this Settlement. At least 48 hours before

submission to the Court, the papers in support of the motion for preliminary approval shall be

provided by Co-Lead Counsel to counsel for the National Association of REALTORS® for its

review. To the extent that the National Association of REALTORS® objects to any aspect of the

motion for preliminary approval, it shall communicate such objection to Co-Lead Counsel and the

Settling Parties shall meet and confer to resolve any such objection. The Settling Parties shall take

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all reasonable actions as may be necessary to obtain preliminary approval of the Settlement. To the

extent the Court finds that the Settlement does not meet the standard for preliminary approval, the

Settling Parties will negotiate in good faith to modify this Settlement Agreement directly or with the

assistance of an agreed mediator and will endeavor to resolve any issues to the satisfaction of the

Court.

         30.   Subject to approval by the Court, the Settling Parties will agree on a method or

methods of providing notice of this Settlement to the Settlement Class and for claim administration

that meet the requirements of due process and Federal Rule of Civil Procedure 23 (“Class Notice”)

and are substantially similar to the forms of notice already agreed-to and approved by the Court in

the previous settlements with Anywhere, RE/MAX, and Keller Williams. Class members who file a

claim to participate in the Anywhere, RE/MAX, or Keller Williams settlements will be deemed to

also have made a claim to participate in this Settlement unless they affirmatively state they are

excluding themselves from this Settlement Class. The Settling Parties agree to the use of the claims

administrator previously selected to administer the Anywhere, RE/MAX, and Keller Williams

settlements and approved by the Court. The Settling Parties agree that Class Notice must not be

provided earlier than 120 days following the filing of the first motion for preliminary approval of this

Settlement Agreement.

         31.   Within 10 calendar days after the filing of the first motion for preliminary approval

of this Settlement Agreement, the claims administrator shall at the National Association of

REALTORS®’s expense, to be credited against the Total Monetary Settlement Amount, cause notice

of this Settlement Agreement to be served upon appropriate State and Federal officials as provided

in the Class Action Fairness Act, 28 U.S.C. § 1715.




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       32.     If the Settlement is preliminarily approved by the Court, Plaintiffs shall timely seek

final approval of the Settlement and entry of a final judgment order as to the National Association of

REALTORS®:

               (a) certifying the Settlement Class under Federal Rule of Civil Procedure 23(b), solely

       for purposes of this Settlement;

               (b) granting final approval of the Settlement as fair, reasonable, and adequate within

       the meaning of Federal Rule of Civil Procedure 23(e) and directing the consummation of the

       Settlement according to its terms;

               (c) enjoining the National Association of REALTORS® and any opting in

       REALTOR® MLS, non-REALTOR® MLS, and real estate brokerage in accordance with

       Paragraph 58 and Paragraph 66 of this Settlement Agreement.

               (d) directing that, as to the National Association of REALTORS® only, the Actions

       be dismissed with prejudice and, except as provided for herein, without costs;

               (e) reserving exclusive jurisdiction over the Settlement and this Settlement

       Agreement, including reserving exclusive jurisdiction over the administration and

       consummation of this Settlement to the Court; and

               (f) determining under Federal Rule of Civil Procedure 54(b) that there is no just reason

       for delay and directing entry of final judgment as to the National Association of

       REALTORS®.

       33.     This Settlement Agreement will become Effective only after the occurrence of all

conditions set forth in the definition of the Effective Date.

D.     Releases, Discharge, and Covenant Not to Sue

       34.     Upon the occurrence of the Effective Date, the Releasing Parties expressly and

irrevocably waive, and fully, finally, and forever settle, discharge, and release the Released Parties

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from, any and all manner of claims, demands, actions, suits, and causes of action, whether individual,

class, representative, or otherwise in nature, for damages, restitution, disgorgement, interest, costs,

expenses, attorneys’ fees, fines, civil or other penalties, or other payment of money, or for injunctive,

declaratory, or other equitable relief, whenever incurred, whether directly, indirectly, derivatively,

or otherwise, whether known or unknown, suspected or unsuspected, in law or in equity, that any

Releasing Party ever had, now has, or hereafter can, shall, or may have and that have accrued as of

the date of Class Notice of the Settlement arising from or related to the Released Claims. The

Released Claims include but are not limited to the antitrust and consumer protection claims brought

in the Actions and similar state and federal statutes. In connection therewith, upon the Effective Date

of Settlement, each of the Releasing Parties (a) shall forever be enjoined from prosecuting in any

forum any Released Claims against any of the Released Parties that accrued from the beginning of

time through the date of Class Notice; and (b) agrees and covenants not to sue any of the Released

Parties with respect to any Released Claims. For avoidance of doubt, this release extends to, but only

to, the fullest extent permitted by law.

       35.     The Releasing Parties may hereafter discover facts other than or different from those

which they now know or believe to be true with respect to the subject matter of the Released Claims.

Nevertheless, the Releasing Parties expressly, fully, finally, and forever settle and release, and, upon

the Effective Date, shall be deemed to have, and by operation of the Final Judgment and Order of

Dismissal shall have, fully, finally, and forever settled and released, any and all Released Claims,

without regard to the subsequent discovery or existence of such other, different, or additional facts,

as well as any and all rights and benefits existing under (a) Cal. Civ. Code Section 1542, which

provides as follows:

                       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS

                       THAT THE CREDITOR OR RELEASING PARTY DOES

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                       NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER

                       FAVOR AT THE TIME OF EXECUTING THE RELEASE

                       AND THAT, IF KNOWN BY HIM OR HER, WOULD

                       HAVE      MATERIALLY            AFFECTED     HIS    OR     HER

                       SETTLEMENT WITH THE DEBTOR OR RELEASED

                       PARTY.

or any equivalent, similar or comparable present or future law or principle of law of any jurisdiction,

including but not limited to Section 20-7-11 of the South Dakota Codified Laws, which provides that

“A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE CREDITOR DOES

NOT KNOW OR SUSPECT TO EXIST IN HIS FAVOR AT THE TIME OF EXECUTING THE

RELEASE, WHICH IF KNOWN BY HIM MUST HAVE MATERIALLY AFFECTED HIS

SETTLEMENT WITH THE DEBTOR;” or (b) any law or principle of law of any jurisdiction that

would limit or restrict the effect or scope of the provisions of the release set forth above, without

regard to the subsequent discovery or existence of such other, different, or additional facts. The

Releasing Parties acknowledge that the inclusion of unknown claims in the definition of Released

Claims was separately bargained for and was a material element of this Settlement Agreement.

       36.     The Releasing Parties intend by this Settlement Agreement to settle with and release

only the Released Parties, and the Settling Parties do not intend this Settlement Agreement, or any

part hereof, or any other aspect of the proposed Settlement or release, to release or otherwise affect

in any way any claims concerning product liability, breach of warranty, breach of contract or tort of

any kind (other than a breach of contract or tort based on any factual predicate in the Actions), a

claim arising out of violation of the Uniform Commercial Code, or personal or bodily injury. The

release does not extend to any individual claims that a class member may have against his or her own

broker or agent based on a breach of contract, breach of fiduciary duty, malpractice, negligence or

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other tort claim, other than a claim that a class member paid an excessive commission or home price

due to the claims at issue in the Actions.

E.     Payment of the Settlement Amount

       37.     Plaintiffs will open a special interest-bearing settlement escrow account or accounts,

established for that purpose as a qualified settlement fund as defined in Section 1.468B-1(a) of the

United States Treasury Regulations (the “Escrow Account”). Within 30 days following the filing of

the first motion for preliminary approval of this Settlement Agreement, the National Association of

REALTORS® will deposit $5 million into the Escrow Account. Within 90 days following final

approval of the Settlement by the Court (and notwithstanding the exhaustion of any appellate rights),

the National Association of REALTORS® will deposit $197 million into the Escrow Account. No

later than one year after the initial $197 million payment, the National Association of REALTORS®

will deposit $72 million in principal into the Escrow Account. No later than two years after the initial

$197 million payment, the National Association of REALTORS® will deposit another $72 million

in principal into the Escrow Account. No later than three years after the initial $197 million payment,

the National Association of REALTORS® will deposit into the Escrow Account the remaining

principal, along with interest on each of the installment payments, as determined at the federal

statutory rate under 28 U.S.C. 1961, into the Escrow Account. All accrued interest shall be for the

benefit of the Settlement Class unless the Settlement is not approved, in which case the interest shall

be for the benefit of the National Association of REALTORS®.

       38.     The obligation to make the three installment payments reflected above will be

evidenced by a promissory note (“Note”) that will be assignable by Plaintiffs, acting on behalf of the

Settlement Class, with advance written notice of any assignment provided to the National Association

of REALTORS®. The obligation and Note will be enforceable by the Court upon motion by

Plaintiffs or Plaintiffs’ assignee, and the Court shall retain continuing jurisdiction over the Settling

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Parties regarding its enforcement notwithstanding the entry of a final judgment.

       39.     The National Association of REALTORS® represents that, as of the date of the

Settlement Agreement, its current obligations with respect to funded debt are not greater than $35

million. The Note will be secured by liens and perfected security interests (“Liens”) against the

entirety of the assets of the National Association of REALTORS® and its subsidiaries as specified

in the Security Agreement (“Obligors”). The Liens securing the Note will be evidenced by a security

agreement (“Security Agreement”) and any ancillary documentation necessary to perfect the Liens

and/or document their priority relative to other security interests held by the Obligors’ creditors

(“Security Documentation”) to be entered into between the Settling Parties. The Liens securing the

Note shall be expressly subordinated to security interests granted to the lender (“Truist”) under that

certain Construction Loan Agreement dated as of September 14, 2018, between the National

Association of REALTORS® and Truist (as amended, restated, supplemented, or otherwise modified

from time to time, the “Loan Agreement”) not more than the amount of the funded debt described

above incurred as Obligations (as defined in the Loan Agreement) as of the date of this Settlement

Agreement and interest on the principal on the amount of the Obligations as of the date of this

Settlement Agreement and any compounding thereof, as consideration for Truist’s agreement to

waive alleged events of default under the Loan Agreement. The Settling Parties agree to negotiate

the Note, Security Agreement, and Security Documentation (including, for the avoidance of doubt,

a satisfactory intercreditor and/or subordination agreement between Truist and the Plaintiffs) in good

faith during the 90 days following Execution Date. To the extent the Settling Parties are unable to

reach agreement on the Note, Security Agreement, or Security Documentation they agree to submit

their dispute to Greg Lindstrom or another mediator agreed to by the parties for binding resolution.

F.     The Settlement Fund




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        40.     The Total Monetary Settlement Amount, any interest earned thereon, and any

payments by Released Parties pursuant to this Settlement Agreement shall be held in the Escrow

Account and constitute the “Settlement Fund.” The full and complete cost of the Class Notice, claims

administration, Settlement Class Members’ compensation, current and former class representatives’

incentive awards, attorneys’ fees and reimbursement of all actual expenses of the Actions, any other

litigation costs of Plaintiffs (all as approved by the Court), and all applicable taxes, if any, assessable

on the Settlement Fund or any portion thereof, will be paid out of the Settlement Fund. If separate

Class Notice occurs with respect to any settlement with a non-REALTOR® MLS or brokerage that

opts into the Settlement (including by executing an Appendix C or D), the National Association of

REALTORS® agrees to pay the full and complete cost of such Class Notice above and beyond the

Total Monetary Settlement Amount, up to $3,000,000.00.

        41.     The Settling Parties and their counsel will not have any responsibility, financial

obligation, or liability for any fees, costs, or expenses related to providing Class Notice to the

Settlement Class or administering the settlement except in Paragraphs 40-42 of this Settlement

Agreement. Such fees, costs, or expenses shall be paid solely from the Settlement Fund with Court

approval. The balance of the Settlement Fund shall be disbursed to Settlement Class Members as

provided in a Plan of Allocation (as defined below) approved by the Court. The Settling Parties shall

have the right to audit amounts paid from the Settlement Fund.

        42.     After preliminary approval of the Settlement and approval of a Class Notice plan, Co-

Lead Counsel may utilize a portion of the Settlement Fund to provide Class Notice of the Settlement

to potential members of the Settlement Class. The National Association of REALTORS® will not

object to Plaintiffs’ counsel withdrawing from the Settlement Fund, subject to any necessary Court

approval, up to $5,000,000.00 to pay the costs for Class Notice. If Plaintiffs settle with one (or more)

Non-National Association of REALTORS® Defendants and Class Notice of one or more other

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settlements is included in the Class Notice of the National Association of REALTORS® settlement,

then the cost of such Class Notice will be apportioned equitably between (or among) the National

Association of REALTORS® Settlement Fund and the other settling Defendant(s)’ settlement funds.

The amount spent or accrued for Class Notice and administration costs is not refundable to the

National Association of REALTORS® in the event the Settlement is disapproved, rescinded, or

otherwise fails to become Effective.

       43.     Subject to Co-Lead Counsel’s sole discretion as to timing, except that the timing must

be consistent with any rules requiring that Settlement Class Members be given the opportunity to

review fee applications, Co-Lead Counsel may apply to the Court for a fee award, plus expenses, and

costs incurred, and current and former class representative service awards to be paid out of the

Settlement Fund. Within 14 business days after any order by the Court awarding attorneys’ fees,

expenses, or class representative incentive awards or such later date as directed by Co-Lead Counsel,

the escrow agent for the Settlement Fund shall pay any approved attorneys’ fees, expenses, costs,

and class representative service award up to the amount specified in Paragraph 24 of this Settlement

Agreement for such fees, expenses, costs, and class representative service award by wire transfer as

directed by Co-Lead Counsel in accordance with and attaching the Court’s Order, provided that each

Co-Lead Counsel receiving payment signs an assurance, in the form attached hereto as Appendix A,

attesting that they will repay all awarded amounts if this Settlement Agreement does not become

Effective.

       44.     The Settlement Fund will be invested in United States Government Treasury

obligations or United States Treasury money market funds.

       45.     The National Association of REALTORS® will not have any responsibility, financial

obligation, or liability whatsoever with respect to the investment, distribution, use, or administration

of the Settlement Fund, including, but not limited to, the costs and expenses of such investment,

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distribution, use or administration except as expressly otherwise provided in this Settlement

Agreement. The National Association of REALTORS®’s only payment obligation is to pay the

Total Monetary Settlement Amount.

       46.     There will be no reduction of the Total Monetary Settlement Amount based on Opt-

Outs. The Settlement will be non-reversionary except as set forth below in Section G of this

Settlement Agreement. If the Settlement becomes Effective, no proceeds from the Settlement will

revert to the National Association of REALTORS® regardless of the claims that are made.

       47.     No disbursements shall be made from the Settlement Fund prior to the Effective Date

of this Settlement Agreement except as described in Paragraphs 40-42 of this Settlement Agreement.

       48.     The distribution of the Settlement Fund shall be administered pursuant to a plan of

allocation (the “Plan of Allocation”) proposed by Co-Lead Counsel in their sole and absolute

discretion and subject to the approval of the Court. The National Association of REALTORS® will

have no participatory or approval rights with respect to the Plan of Allocation. It is understood and

agreed by the Settling Parties that any proposed Plan of Allocation, including, but not limited to, any

adjustments to an authorized claimant’s claim, is completely independent of and is not a part of this

Settlement Agreement and is to be considered by the Court separately from the Court’s consideration

of the fairness, reasonableness, and adequacy of this Settlement Agreement. The Settlement Class,

Plaintiffs, and the National Association of REALTORS® shall be bound by the terms of this

Settlement Agreement, irrespective of whether the Court or any other court, including on any appeal,

disapproves or modifies the Plan of Allocation, and any modification or rejection of the Plan of

Allocation shall not affect the validity or enforceability of this Settlement Agreement or otherwise

operate to terminate, modify, or cancel that Agreement.




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       49.     The Releasing Parties will look solely to the Settlement Fund for settlement and

satisfaction against the Released Parties of all Released Claims and shall have no other recovery

against the National Association of REALTORS® or the Released Parties.

F.     Taxes

       50.     Co-Lead Counsel is solely responsible for filing all informational and other tax returns

necessary to report any net taxable income earned by the Settlement Fund and shall file all

informational and other tax returns necessary to report any income earned by the Settlement Fund

and shall be solely responsible for taking out of the Settlement Fund, as and when legally required,

any tax payments, including interest and penalties due on income earned by the Settlement Fund. All

taxes (including any interest and penalties) due with respect to the income earned by the Settlement

Fund shall be paid from the Settlement Fund. The National Association of REALTORS® has no

responsibility to make any filings relating to the Settlement Fund and will have no responsibility to

pay tax on any income earned by the Settlement Fund or to pay any taxes on the Settlement Fund

unless the Settlement does not become Effective and the Settlement Fund is returned to the National

Association of REALTORS®. In the event the Settlement does not become Effective and any funds

including interest or other income are returned to the National Association of REALTORS®, the

National Association of REALTORS® will be responsible for the payment of all taxes (including

any interest or penalties), if any, on said interest or other income. The National Association of

REALTORS® makes no representations regarding, and will not be responsible for, the tax

consequences of any payments made pursuant to this Settlement Agreement to Co-Lead Counsel or

to any Settlement Class Member.

G.     Rescission

       51.     If the Court does not certify the Settlement Class as defined in this Settlement

Agreement, or if the Court does not approve this Settlement Agreement in all material respects, or if

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such approval is modified in or set aside on appeal in any material respects, or if the Court does not

enter final approval, or if any judgment approving this Settlement Agreement is materially modified

or set aside on appeal, or if all of the conditions for the Effective Date do not occur, then this

Settlement Agreement may be rescinded by the National Association of REALTORS® or by

Plaintiffs on behalf of the Settlement Class by written notice to the Court and to counsel for the other

Settling Party filed and served within 10 business days of the entry of an order not granting court

approval or having the effect of disapproving or materially modifying the terms of this Settlement

Agreement. A modification or reversal on appeal of any amount of the Settlement Fund that the

Court authorizes to be used to pay Plaintiffs’ fees or litigation expenses shall not be deemed a

modification of all or a part of the terms of this Settlement Agreement or such final judgment order.

The Settling Parties have agreed in the Confidential Supplemental Agreement that, after the deadline

for filing timely Opt-Out requests has passed, Plaintiffs will provide to the National Association of

REALTORS® a list of exclusion requests. In its sole discretion, the National Association of

REALTORS® shall have the right to rescind or terminate this Settlement Agreement if Opt-Out

requests for exclusion exceed the threshold specified the Confidential Supplemental Agreement.

       52.     If the Settlement or Settlement Agreement is rescinded or terminated for any reason,

then the balance of the Total Monetary Settlement Amount in the Settlement Fund will be returned

to the National Association of REALTORS®. In the event that this Settlement Agreement is

rescinded, the funds already expended from the Settlement Fund for the costs of Class Notice and

administration will not be returned to the National Association of REALTORS®. Funds to cover

Class Notice and administration expenses that have been incurred but not yet paid from the

Settlement Fund will also not be returned to the National Association of REALTORS®.

       53.     If the Settlement or Settlement Agreement is rescinded or terminated for any reason

permitted under this Settlement Agreement, then the Settling Parties will be restored to their

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respective positions in the Actions as of the Execution Date. Plaintiffs and the National Association

of REALTORS® agree that any rulings or judgments that occur in the Actions after Execution Date

and before this Settlement Agreement is rescinded will not bind Plaintiffs, the National Association

of REALTORS® or any of the Released Parties. Plaintiffs and the National Association of

REALTORS® agree to waive any argument of claim or issue preclusion against Plaintiffs or the

National Association of REALTORS® arising from such rulings or judgments. In the event of a

rescission or termination for any reason permitted under this Agreement, the Actions will proceed as

if this Settlement Agreement had never been executed and this Settlement Agreement, and

representations made in conjunction with this Settlement Agreement, may not be used in the Actions

or otherwise for any purpose. The National Association of REALTORS® and Plaintiffs expressly

reserve all rights if this Settlement Agreement does not become Effective or if it is rescinded or

terminated as permitted by this Agreement by the National Association of REALTORS® or the

Plaintiffs, including the National Association of REALTORS®’s rights to seek review, including

appeal, of any judgment entered in Burnett on any available ground.

       54.     The Settling Parties agree that pending deadlines for motions not yet filed, and all

deadlines (whether pending or past) for motions that will be withdrawn pursuant to this Settlement

Agreement, shall be tolled for the period from Execution Date, until the date this Settlement

Agreement is rescinded, and no Settling Party shall contend that filing or renewal of such motions

was rendered untimely by or was waived by the operation of this Settlement Agreement. The Settling

Parties further agree that, within five business days of the Execution Date, they will jointly petition

the courts overseeing the Actions to request a stay of all pending deadlines as to the National

Association of REALTORS® only.

       55.     The National Association of REALTORS® warrants and represents that it is not

“insolvent” within the meaning of applicable bankruptcy laws as of the time this Settlement

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Agreement is executed. For the avoidance of doubt, this representation takes no account of the jury

verdict rendered in Burnett. In the event of a final order of a court of competent jurisdiction, not

subject to any further proceedings, determining the transfer of the Total Monetary Settlement

Amount, or any portion thereof, by or on behalf of the National Association of REALTORS® to be

a preference, voidable transfer, fraudulent transfer or similar transaction under Title 11 of the United

States Code (Bankruptcy) or applicable state law and any portion thereof is required to be refunded

and such amount is not promptly deposited in the Escrow Account by or on behalf of the National

Association of REALTORS®, then, at the election of Co-Lead Counsel, this Settlement Agreement

may be terminated and the releases given and the judgment entered pursuant to the Settlement shall

be null and void.

       56.     The Settling Parties’ rights to terminate this Settlement Agreement and withdraw from

this Settlement Agreement are a material term of this Settlement Agreement.

       57.     The National Association of REALTORS® reserves all of its legal rights and defenses

with respect to any claims brought by potential Opt-Outs.

H.     Practice Changes

       58.     As soon as practicable, and in no event later than the date of Class Notice (as provided

in Paragraph 30 of this Settlement Agreement), the National Association of REALTORS® (defined

for purposes of this paragraph to include present and future, direct and indirect subsidiaries,

predecessors, and successors) will implement the following practice changes:

              i.       eliminate and prohibit any requirement by the National Association of

       REALTORS®, REALTOR® MLSs, or Member Boards that listing brokers or sellers must

       make offers of compensation to buyer brokers or other buyer representatives (either directly

       or through buyers), and eliminate and prohibit any requirement that such offers, if made, must

       be blanket, unconditional, or unilateral;

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       ii.       prohibit REALTOR® MLS Participants, subscribers, other real estate brokers,

  other real estate agents, and their sellers from (a) making offers of compensation on the MLS

  to buyer brokers or other buyer representatives (either directly or through buyers) or (b)

  disclosing on the MLS listing broker compensation or total broker compensation (i.e., the

  combined compensation to both listing brokers and cooperating brokers);

      iii.       require REALTOR® MLSs to (a) eliminate all broker compensation fields on

  the MLS and (b) prohibit the sharing of the offers of compensation to buyer brokers or other

  buyer representatives described in Paragraphs 58(i) and (ii) of this Settlement Agreement via

  any other REALTOR® MLS field;

       iv.       eliminate and prohibit any requirements conditioning participation or

  membership in a REALTOR® MLS on offering or accepting offers of compensation to buyer

  brokers or other buyer representatives;

       v.        agree not to create, facilitate, or support any non-MLS mechanism (including

  by providing listing information to an internet aggregators’ website for such purpose) for

  listing brokers or sellers to make offers of compensation to buyer brokers or other buyer

  representatives (either directly or through buyers), however, this provision is not violated by

  (a) a REALTOR® MLS providing data or data feeds to a REALTOR®, REALTOR® MLS

  Participant, or third party unless the REALTOR® MLS knows those data or data feeds are

  being used directly or indirectly to establish or maintain a platform for offers of compensation

  from multiple brokers (i.e., the REALTOR® MLS cannot intentionally circumvent this

  requirement); or (b) a REALTOR® or REALTOR® MLS Participant displaying both (1) data

  or data feeds from a REALTOR® MLS and (2) offers of compensation to buyer brokers or

  other buyer representatives but only on listings from their own brokerage;

       vi.       unless inconsistent with state or federal law or regulation before or during the

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  operation of this Paragraph 58(vi) of this Settlement Agreement, require that all REALTOR®

  MLS Participants working with a buyer enter into a written agreement before the buyer tours

  any home with the following:

                 a.       to the extent that such a REALTOR® or Participant will receive

         compensation from any source, the agreement must specify and conspicuously

         disclose the amount or rate of compensation it will receive or how this amount will

         be determined;

                 b.       the amount of compensation reflected must be objectively

         ascertainable and may not be open-ended (e.g., “buyer broker compensation shall be

         whatever amount the seller is offering to the buyer”); and

                 c.       such a REALTOR® or Participant may not receive compensation for

         brokerage services from any source that exceeds the amount or rate agreed to in the

         agreement with the buyer;

      vii.       prohibit REALTORS® and REALTOR® MLS Participants from representing

  to a client or customer that their brokerage services are free or available at no cost to their

  clients, unless they will receive no financial compensation from any source for those services;

     viii.       require REALTORS® and REALTOR® MLS Participants acting for sellers

  to conspicuously disclose to sellers and obtain seller approval for any payment or offer of

  payment that the listing broker or seller will make to another broker, agent, or other

  representative (e.g., a real estate attorney) acting for buyers; and such disclosure must be in

  writing, provided in advance of any payment or agreement to pay to another broker acting for

  buyers, and specify the amount or rate of any such payment;

       ix.       require REALTORS® and REALTOR® MLS Participants to disclose to

  prospective sellers and buyers in conspicuous language that broker commissions are not set

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  by law and are fully negotiable (a) in their listing agreement if it is not a government-specified

  form, (b) in their agreement with buyers if it is not a government-specified form, and (c) in

  pre-closing disclosure documents if there are any and they are not government-specified

  forms. In the event that the listing agreement, buyer representation agreement, or pre-closing

  disclosure documents are a government form, then REALTORS® and REALTOR® MLS

  Participants must include a disclosure with conspicuous language expressly stating that

  broker commissions are not set by law and are fully negotiable. NAR also shall require that

  REALTOR® Member Boards and REALTOR® MLSs, to the extent they publish form listing

  agreements, buyer representation agreements, and pre-closing disclosure documents for use

  by REALTORS®, Participants, and/or subscribers, must conform those documents to this

  Paragraph 58(ix).

        x.          require that REALTORS® and REALTOR® MLS Participants and

  subscribers must not filter out or restrict MLS listings communicated to their customers or

  clients based on the existence or level of compensation offered to the buyer broker or other

  buyer representative assisting the buyer;

       xi.          rescind or modify any existing rules that are inconsistent with the practice

  changes reflected in this Settlement Agreement; and

      xii.          develop educational materials that reflect and are consistent with each

  provision in these practice changes, and eliminate educational materials, if any, that are

  contrary to it.

     xiii.          the practice changes in Paragraph 58 of this Settlement Agreement shall not

  prevent (a) offers of compensation to buyer brokers or other buyer representatives off of the

  multiple listing service; or (b) sellers from offering buyer concessions on a REALTOR®

  MLS (e.g., for buyer closing costs), so long as such concessions are not limited to or

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       conditioned on the retention of or payment to a cooperating broker, buyer broker, or other

       buyer representative.

       59.     The obligations set forth in Paragraph 58 of this Settlement Agreement will terminate

7 years after the Class Notice date. Moreover, if in an action brought against the National Association

of REALTORS® by the United States Department of Justice, United States Federal Trade

Commission, or any State Attorney General and a final judgment is entered by a court (with all stay

rights exhausted) which requires the National Association of REALTORS® to adopt any practice

changes that are inconsistent with the practice changes required by this Settlement Agreement, the

National Association of REALTORS® may comply with the terms of such judgment, unless the

judgment is reversed or vacated, notwithstanding the practice changes specified in this Settlement

Agreement. In such circumstance, the National Association of REALTORS® will continue to be

obligated to observe the practice changes specified in this Settlement Agreement that are not affected

by such judgment.

       60.     The National Association of REALTORS® acknowledges that the practice changes

set forth here are a material component of this Settlement Agreement and agrees to use its best efforts

to implement the practice changes specified in Paragraph 58 of this Settlement Agreement.

I.     Cooperation

       61.     The National Association of REALTORS® (defined for purposes of this paragraph

to include present and future, direct and indirect subsidiaries, predecessors, and successors) will

provide valuable cooperation to Plaintiffs and Settlement Class Member as follows in the Actions,

including to the extent that any is consolidated pursuant to In re Real Estate Commission Antitrust

Litigation (MDL No. 3100):




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         i.       use reasonable efforts to authenticate documents and/or things produced by it

  in the Actions where the facts indicate that the documents and/or things at issue are authentic,

  by declarations or affidavits if possible, or at hearings or trial if necessary;

        ii.       use reasonable efforts to provide the facts necessary to establish, where

  applicable, that documents and/or things produced by it in the Actions are “business records,”

  a present sense impression, an excited utterance, a recorded recollection, or are otherwise

  admissible under the Federal Rules of Evidence, by declarations or affidavits if possible, or

  at hearings or trial if necessary;

       iii.       make available up to six (6) then-current employees, who are not practicing

  attorneys, identified by Plaintiffs who will sit for deposition in the Actions and will testify

  live at trial in any of the Actions if requested by Plaintiffs;

       iv.        agree that Plaintiffs in the Actions may use any discovery materials provided

  by the National Association of REALTORS® or its officers or employees in Moehrl or

  Burnett;

        v.        agree to produce in any Actions (excepting Moehrl and Burnett) non-

  privileged documents in its possession, custody, or control from up to eight (8) current or

  former employees or officers (“Custodians”), that are returned by a reasonable and agreed-

  upon list of search terms for documents created after January 1, 2022. The National

  Association of REALTORS® will, within 150 days of the later of (a) the Date of Preliminary

  Approval or (b) the date by which Plaintiffs identify Custodians and the Settling Parties agree

  on search terms, whichever is later, produce those documents. If the Parties are unable to

  reach agreement on a final list of Search Terms after good faith negotiations, they will submit

  any dispute for mediation by an agreed mediator. For any documents that are withheld on

  the basis of privilege or as attorney work product, the National Association of REALTORS®

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  will produce a privilege log according to the requirements of the ESI Order entered in Burnett.

  Any disputes over privilege or as to attorney work product will be governed by the procedure

  reflected in the ESI Order entered in Burnett.

       vi.       submit a withdrawal of expert designations and obtain agreement with any

  experts retained solely by the National Association of REALTORS® as of February 1, 2024

  that they will not testify at trial as a retained expert for any Non-National Association of

  REALTORS® Defendant in the Actions;

      vii.       decline to waive any conflict that its counsel may have with respect to

  representing any non-Released Parties in the Actions;

     viii.       agree that, if a Non-National Association of REALTORS® Defendant

  includes a witness on a witness list in the Actions who is then a current officer or employee

  of the National Association of REALTORS® or its subsidiaries, the National Association of

  REALTORS® will cooperate in providing access via counsel to that witness prior to trial

  testimony for up to two (2) hours;

       ix.       within five business days after the Execution Date, withdraw their existing

  response before the Judicial Panel on Multidistrict Litigation with respect to In re Real Estate

  Commission Antitrust Litigation (MDL No. 3100);

       x.        within five business days after the Execution Date, withdraw any pending non-

  settlement related motions and supporting filings in the Actions filed by the National

  Association of REALTORS® only, including those concerning summary judgment, the

  exclusion of experts, and post-trial motions without prejudice to renewal in the event this

  Settlement or Settlement Agreement is rescinded, and in that event Plaintiffs shall not contend

  that renewal was rendered untimely by or was waived by the operation of this Settlement

  Agreement; and

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             xi.       agree not to provide greater assistance in discovery or trial to any defendant

       or other non-Released Party in the Actions than to the Plaintiffs, unless required by subpoena

       or other compulsory process.

       62.     The National Association of REALTORS®’s cooperation obligations, as set forth in

Paragraph 61 of this Settlement Agreement, shall not require the production of information,

testimony, and/or documents that are protected from disclosure by the attorney-client privilege, work

product doctrine, joint defense privilege, or any other applicable privilege or doctrine.

       63.     The National Association of REALTORS®’s obligation to cooperate will not be

affected by the release set forth in this Settlement Agreement or the final judgment orders with

respect to the National Association of REALTORS®.             Unless this Settlement Agreement is

rescinded, disapproved, or otherwise fails to become Effective, the obligation to cooperate as set

forth here will continue until the date that final judgment has been entered in all of the Actions and

the time for appeal or to seek permission to appeal from the entry of a final judgment has expired or,

if appealed, any final judgment has been affirmed in its entirety by the court of last resort to which

such appeal has been taken and such affirmance is no longer subject to further appeal or review.

       64.     The National Association of REALTORS® acknowledges that the cooperation set

forth here is a material component of this Settlement Agreement and agrees to use its reasonable best

efforts to provide the cooperation specified in Paragraph 61 of this Settlement Agreement.

       65.     Notwithstanding any of the foregoing, nothing herein shall restrict or impact the

ability of the National Association of REALTORS® to defend itself in any way in any litigation

aside from the Actions, or government investigations.

J.     REALTOR® and Non-REALTOR® MLS Opt-In, Release, and Cooperation

       66.     In order to be included as a Released Party, each REALTOR® MLS must among

other requirements agree to be bound by the practice changes in Paragraph 68 and the cooperation

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terms in Paragraph 69, including by executing Appendix B and providing it to the below email

address within 60 days of the filing of the first motion for preliminary approval of this Settlement

Agreement:

                   (1) realtorsoptin@jndla.com, (2) realtorsoptin@cohenmilstein.com, and

                                   (3) nargovernance@nar.realtor

       67.     In order to be included as a Released Party, each non-REALTOR® MLS must among

other requirements agree to be bound by the practice changes in Paragraph 68 of this Settlement

Agreement, the cooperation terms in Paragraph 69 of this Settlement Agreement, and the payment

terms reflected in Appendix D, including by executing Appendix D and providing it to the below

email address within 60 days of the filing of the first motion for preliminary approval of this

Settlement Agreement:

              (1) realtorsoptin@jndla.com, (2) realtorsoptin@cohenmilstein.com, and

                                   (3) nargovernance@nar.realtor

       68.     As soon as practicable, and in no event later than 150 days after the filing of the first

motion for preliminary approval of this Settlement Agreement, each opting-in REALTOR® MLS

and non-REALTOR® MLS will implement the following practice changes:

              i.       eliminate any requirement by the MLS that listing brokers or sellers must

       make offers of cooperating compensation to brokers or other buyer representatives (either

       directly or through buyers), and eliminate any requirement that such offers, if made, must be

       blanket, unconditional, or unilateral;

             ii.       prohibit MLS Participants, subscribers, other real estate brokers, other real

       estate agents, and sellers from (a) making offers of compensation on the MLS to cooperating

       brokers or other buyer representatives (either directly or through buyers); or (b) disclosing on

       the MLS listing broker compensation or total brokerage compensation (i.e., the combined

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  compensation to both listing brokers and cooperating brokers);

      iii.         eliminate all broker compensation fields on the MLS, and prohibit the sharing

  of offers of compensation to buyer brokers or other buyer representatives described in

  Paragraphs 68(i) and (ii) of this Settlement Agreement via any other fields on the MLS;

       iv.         eliminate and prohibit any requirements conditioning participation or

  membership in an MLS on offering or accepting compensation to buyer brokers or other

  buyer representatives;

       v.          agree not to create, facilitate, or support any non-MLS mechanism (including

  by providing listing information to an internet aggregators’ website for such purpose) for

  listing brokers or sellers to make offers of compensation to buyer brokers or other buyer

  representatives (either directly or through buyers), however, this provision is not violated by

  (a) an MLS providing data or data feeds to an MLS Participant, or third party unless the MLS

  knows those data or data feeds are being used directly or indirectly to establish or maintain a

  platform for offers of compensation from multiple brokers (i.e., the MLS cannot intentionally

  circumvent this requirement); or (b) a REALTOR® or MLS Participant displaying both (1)

  data or data feeds from an MLS and (2) offers of compensation to buyer brokers or other

  buyer representatives, but only on listings from their own brokerage;

       vi.         unless inconsistent with state or federal law or regulation before or during the

  operation of this Paragraph 68(vi) of this Settlement Agreement, require that all MLS

  Participants working with a buyer enter into a written agreement before the buyer tours any

  home with the following:

                   a.      to the extent that such an MLS Participant will receive compensation

            from any source, the agreement must specify and conspicuously disclose the amount

            or rate of compensation it will receive or how this amount will be determined;

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                  b.      the amount of compensation reflected must be objectively

          ascertainable and may not be open-ended (e.g., “buyer broker compensation shall be

          whatever amount the seller is offering to the buyer”); and

                  c.      such an MLS Participant may not receive compensation for brokerage

          services from any source that exceeds the amount or rate agreed to in the agreement

          with the buyer;

      vii.        prohibit MLS Participants, subscribers, and other real estate brokers and

  agents accessing the multiple listing service from representing to a client or customer that

  their brokerage services are free or available at no cost to their clients, unless they will receive

  no financial compensation from any source for those services;

     viii.        require MLS Participants acting for sellers to conspicuously disclose to sellers

  and obtain seller approval for any payment or offer of payment that the listing broker or seller

  will make to another broker, agent, or other representative (e.g., a real estate attorney) acting

  for buyers; and such disclosure must be in writing, provided in advance of any payment or

  agreement to pay to another broker acting for buyers, and specify the amount or rate of any

  such payment;

       ix.        require MLS Participants to disclose to prospective sellers and buyers in

  conspicuous language that broker commissions are not set by law and are fully negotiable (a)

  in their listing agreement if it is not a government-specified form, (b) in their agreement with

  buyers if it is not a government-specified form, and (c) in pre-closing disclosure documents

  if there are any and they are not government-specified forms. In the event that the listing

  agreement, buyer representation agreement, or pre-closing disclosure documents are a

  government form, then MLS Participants must include a disclosure with conspicuous

  language expressly stating that broker commissions are not set by law and are fully

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       negotiable.

               x.         to the extent that the MLS publishes form listing agreements, buyer

       representation agreements, or pre-closing disclosure documents for use by REALTORS®,

       participants, and/or subscribers, ensure that those forms include language disclosing to

       prospective sellers and buyers in conspicuous language that broker commissions are not set

       by law and are fully negotiable;

              xi.         require that MLS Participants and subscribers must not filter out or restrict

       MLS listings communicated to their customers or clients based on the existence or level of

       compensation offered to the buyer broker or other buyer representative assisting the buyer;

             xii.         rescind or modify any existing rules that are inconsistent with the practice

       changes reflected in this Paragraph 68 of this Settlement Agreement; and

             xiii.        develop or provide from the National Association of REALTORS®

       educational materials that reflect and are consistent with each provision in these practice

       changes, and eliminate educational materials, if any, that are contrary to it;

             xiv.         the practice changes in Paragraph 68 of this Settlement Agreement shall not

       prevent (a) offers of compensation off of the MLS to buyer brokers or buyer representatives;

       or (b) sellers from offering buyer concessions on an MLS (e.g., for buyer closing costs), so

       long as such concessions are not limited to or conditioned on the retention of or payment to

       a cooperating broker, buyer broker, or other buyer representative.

       69.          Each opting-in REALTOR® MLS and non-REALTOR® MLS will provide valuable

cooperation to Plaintiffs and Settlement Class Member as follows in the Actions, including to the

extent that any is consolidated pursuant to In re Real Estate Commission Antitrust Litigation (MDL

No. 3100):




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         i.       use reasonable efforts to authenticate documents and/or things produced by it

  in the Actions where the facts indicate that the documents and/or things at issue are authentic,

  by declarations or affidavits if possible, or at hearings or trial if necessary;

        ii.       use reasonable efforts to provide the facts necessary to establish, where

  applicable, that documents and/or things produced by it in the Actions are “business records,”

  a present sense impression, an excited utterance, a recorded recollection, or are otherwise

  admissible under the Federal Rules of Evidence, by declarations or affidavits if possible, or

  at hearings or trial if necessary;

       iii.       use reasonable efforts at their expense to provide relevant class member and

  listing data and answer questions about that data to support the provision of Class Notice,

  administration of any settlements, or the litigation of the Actions;

       iv.        stipulate that Plaintiffs have the consent to obtain from third parties relevant

  class member and listing data to support the provision of Class Notice, administration of any

  settlements, or the litigation of the Actions;

        v.        agree that Plaintiffs may use in the Actions any discovery materials provided

  by it or its officers or employees in Moehrl or Burnett;

       vi.        agree that this Settlement Agreement shall not preclude Plaintiffs from

  seeking the production of non-privileged documents in its possession, custody, or control;

      vii.        if a Defendant includes a witness on a witness list in the Actions who is then

  a current officer or employee of the multiple listing service, the multiple listing service will

  cooperate in providing access via counsel to that witness prior to trial testimony for up to two

  (2) hours;

     viii.        withdraw any existing response before the Judicial Panel on Multidistrict

  Litigation with respect to In re Real Estate Commission Antitrust Litigation (MDL No. 3100);

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             ix.         agree not to provide greater assistance in discovery or trial to any defendant

       or other non-Released Party in the Actions than to the Plaintiffs unless required by subpoena

       or other compulsory process.

       70.     Each opting-in REALTOR® MLS’s and non-REALTOR® MLS’s cooperation

obligations, as set forth in Paragraph 69 of this Settlement Agreement, shall not require the

production of information, testimony, and/or documents that are protected from disclosure by the

attorney-client privilege, work product doctrine, joint defense privilege, or any other applicable

privilege or doctrine.

       71.     Each opting-in REALTOR® MLS’s and non-REALTOR® MLS’s obligation to

cooperate will not be affected by the release set forth in this Settlement Agreement or the final

judgment orders with respect to the National Association of REALTORS® or the opting-in

REALTOR® MLS or non-REALTOR® MLS. Unless this Settlement Agreement is rescinded,

disapproved, or otherwise fails to become Effective, the obligation to cooperate as set forth here will

continue until the date that final judgment has been entered in all of the Actions and the time for

appeal or to seek permission to appeal from the entry of a final judgment has expired or, if appealed,

any final judgment has been affirmed in its entirety by the court of last resort to which such appeal

has been taken and such affirmance is no longer subject to further appeal or review.

K.     Miscellaneous

       72.     This Settlement Agreement and any actions taken to carry out the Settlement are not

intended to be, nor may they be deemed or construed to be, an admission or concession of liability,

or of the validity of any claim, defense, or point of fact or law on the part of any Settling Party. The

National Association of REALTORS® denies the allegations of the complaints in the Actions.

Neither this Settlement Agreement, nor the fact of Settlement, nor settlement proceedings, nor the

settlement negotiations, nor any related document, shall be used as an admission of any fault or

                                                   40
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omission by the National Association of REALTORS®, or be offered in evidence as an admission,

concession, presumption, or inference of any wrongdoing by the National Association of

REALTORS® in any proceeding.

       73.     This Settlement Agreement was reached with the assistance of counsel after arm’s-

length negotiations. The Settling Parties also participated in mediation sessions before a neutral

mediator, Greg Lindstrom, of Phillips ADR Enterprises, P.C. and with two other mediators. The

Settling Parties reached this Settlement Agreement after considering the risks and costs of litigation.

The Settling Parties agree to continue to maintain the confidentiality of all settlement discussions and

materials exchanged during the settlement negotiation. The terms of the settlement continue to be

subject to mediation privilege and must be kept strictly confidential until 10:00am Eastern Daylight

Time on March 15, 2024, except as necessary for the National Association of REALTORS® to

inform certain members, REALTOR® Boards, and REALTOR® MLSs or as otherwise agreed in

writing by the Co-Lead Counsel and the National Association of REALTORS®.

       74.     Any disputes relating to this Settlement Agreement will be governed by Missouri law

without regard to conflicts of law provisions.

       75.     This Settlement Agreement does not settle or compromise any claim by Plaintiffs or

any other Settlement Class Member against any alleged co-conspirator or other Person or entity other

than the Released Parties, including but not limited to the non-National Association of REALTORS®

defendants in the Actions. All rights of any Settlement Class Member against any Non-National

Association of REALTORS® Defendant or an alleged co-conspirator or other person or entity other

than the Released Parties are specifically reserved by Plaintiffs and the other Settlement Class

Members.

       76.     This Settlement Agreement constitutes the entire agreement among Plaintiffs and the

National Association of REALTORS® pertaining to the Settlement of the Actions against the

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National Association of REALTORS®. This Settlement Agreement may be modified or amended

only by a writing executed by Plaintiffs and the National Association of REALTORS®.

       77.     This Settlement Agreement may be executed in counterparts by Plaintiffs and the

National Association of REALTORS®, and a facsimile or pdf signature shall be deemed an original

signature for purposes of executing this Settlement Agreement.

       78.     Neither Plaintiffs nor the National Association of REALTORS® shall be considered

the drafter of this Settlement Agreement or any of its provisions for the purpose of any statute, the

common law, or rule of interpretation that would or might cause any provision of this Settlement

Agreement to be construed against the drafter.

       79.     The provisions of this Settlement Agreement shall, where possible, be interpreted in

a manner to sustain their legality and enforceability.

       80.     The provisions of this Settlement Agreement governing the opt-in and release of

certain MLSs and brokerages (including Appendices B, C, and D) shall be deemed severable, and

the invalidity, ineffectiveness, or unenforceability of those provisions shall not affect the validity or

enforceability of the other provisions of this Settlement Agreement. The validity, effectiveness, and

enforceability of this Settlement Agreement with and as it pertains to the National Association of

REALTORS® shall not be affected in any way by the decisions of MLSs or brokerages to accept or

decline the opt-in provisions reflected in this Settlement Agreement or of any court with respect to

the approval of the opt-in and release provisions of certain MLSs and brokerages (including

Appendices B, C, and D).

       81.     The opt-in and release of REALTOR® MLSs shall be subject to the same separate

opt-out, objection, and Class Notice deadlines as this Settlement Agreement with the National

Association of REALTORS®. At Plaintiffs’ sole option (and in consultation with the opting-in non-

REALTOR® MLSs or brokerages), the opt-out, objection, and class notice deadlines for any

                                                   42
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Settlements with non-REALTOR® MLSs (as reflected in Appendix D) and brokerages (as reflected

in Appendix C) may be subject to different opt-out, objection, and class notice deadlines from this

Settlement Agreement with the National Association of REALTORS®.

       82.     The Court shall retain jurisdiction over the implementation and enforcement of this

Settlement Agreement and the Settlement.

       83.     The terms of this Settlement Agreement are and shall be binding upon and inure to

the benefit of, to the fullest extent possible, each of the Releasing Parties and the Released Parties,

and upon all other Persons claiming any interest in the subject matter hereto through any of the

Settling Parties, Releasing Parties, Released Parties, and any Settlement Class Members.

       84.     Any disputes between the National Association of REALTORS® and Co-Lead

Counsel concerning this Settlement Agreement shall, if they cannot be resolved by the Settling

Parties, be presented first to Gregory Lindstrom or another mediator agreed to by the parties for

assistance in mediating a resolution and, if a resolution is not reached, to the Court.

       85.     Each Settling Party acknowledges that he, she or it has been and is being fully advised

by competent legal counsel of such Settling Party’s own choice and fully understands the terms and

conditions of this Settlement Agreement, and the meaning and import thereof, and that such Settling

Party’s execution of this Settlement Agreement is with the advice of such Settling Party’s counsel

and of such Settling Party’s own free will. Each Settling Party represents and warrants that it has

sufficient information regarding the transaction and the other parties to reach an informed decision

and has, independently and without relying upon the other parties, and based on such information as

it has deemed appropriate, made its own decision to enter into this Settlement Agreement and was

not fraudulently or otherwise wrongfully induced to enter into this Settlement Agreement.

       86.     The Settling Parties shall have the right to amend this Settlement Agreement, upon

mutual written consent, to correct any scrivener’s errors in this Settlement Agreement, provided that

                                                  43
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such amendment does not materially adversely affect the rights of the Settling Parties.

       87.     Each of the undersigned attorneys represents that he or she is fully authorized to enter

into the terms and conditions of, and to execute, this Settlement Agreement.




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LEAD COUNSl:L           --
Hageus Berman Sobol Shap,.--a L.lP




NA'llONAL ASSOCIATION UF REALTORS®




Cooley LLP




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                                  APPENDIX A

                      UNITED STATES DISTRICT COURT
              WESTERN DISTRICT OF MISSOURI WESTERN DIVISION

RHONDA BURNETT, JEROD BREIT, HOLLEE ELLIS,
FRANCES HARVEY, and JEREMY KEEL, on behalf of
themselves and all others similarly situated,

                Plaintiffs,

      v.
                                                             Case No. 19-cv-00332-SRB
THE NATIONAL ASSOCIATION OF REALTORS®,
REALOGY HOLDINGS CORP., HOMESERVICES OF
AMERICA, INC., BHH AFFILIATES, LLC, HSF
AFFILIATES, LLC, RE/MAX LLC, and NATIONAL
ASSOCIATION OF REALTORS® REALTY, INC.,

                Defendants.



                     UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

CHRISTOPHER MOEHRL, MICHAEL COLE, STEVE
DARNELL, JACK RAMEY, DANIEL UMPA and JANE RUH
on behalf of themselves and all others similarly situated,

                Plaintiffs,

      v.
                                                             Case No. 1:19-cv-01610-ARW
THE NATIONAL ASSOCIATION OF REALTORS®,
REALOGY HOLDINGS CORP., HOMESERVICES OF
AMERICA, INC., BHH AFFILIATES, LLC, HSF
AFFILIATES, LLC, THE LONG & FOSTER COMPANIES,
INC., RE/MAX LLC, and KELLER WILLIAMS REALTY,
INC.,

                Defendants.




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       Plaintiffs Rhonda Burnett, Jerod Breit, Jeremy Keel, Hollee Ellis, Frances Harvey,

Christopher Moehrl, Michael Cole, Steve Darnell, Jack Ramey, Daniel Umpa, Jane Ruh, Don

Gibson, Lauren Criss, and John Meiners (collectively “Plaintiffs”) and defendant the National

Association of REALTORS® (collectively, “the Parties”), by and through and including their

undersigned counsel, stipulate and agree as follows:

       WHEREAS, each firm defined in the Settlement Agreement as Co-Lead Counsel desires to

give an undertaking (the “Undertaking”) for repayment of the award of attorneys’ fees, costs, and

expenses approved by the Court, and

       WHEREAS, the Parties agree that this Undertaking is in the interests of all Parties and in

service of judicial economy and efficiency.

       NOW, THEREFORE, the undersigned counsel, individually and as agent for his/her law firm,

hereby submits both to the jurisdiction of the Court for the purpose of enforcing the provisions of

this Undertaking.

       Capitalized terms used herein without definition have the meanings given to them in the

Settlement Agreement.

       By receiving any payments pursuant to the Settlement Agreement, Co-Lead Counsel and their

shareholders, members, and/or partners submit to the jurisdiction of the United States District Court

for the Western District of Missouri for the enforcement of and any and all disputes relating to or

arising out of the reimbursement obligation set forth herein and in the Settlement Agreement.

       In the event that the Settlement Agreement does not receive final approval or any part of the

final approval is vacated, overturned, reversed, or rendered void as a result of an appeal, or the

Settlement Agreement is voided, rescinded, or otherwise terminated for any other reason, Co-Lead

Counsel shall, within thirty (30) days repay to the National Association of REALTORS®, based

upon written instructions provided by the National Association of REALTORS®, the full amount of

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the attorneys’ fees and costs paid to Co-Lead Counsel from the Settlement Fund, including any

accrued interest.

       In the event the Settlement Agreement becomes Effective, but the attorneys’ fees, costs, and

expenses awarded by the Court or any part of them are vacated, overturned, modified, reversed, or

rendered void as a result of an appeal, Co-Lead Counsel shall within thirty (30) days repay to the

Settlement Fund, based upon written instructions provided by the settlement administrator, the

attorneys’ fees and costs paid to Co-Lead Counsel from the Settlement Fund in the amount vacated

or modified, including any accrued interest.

       This Undertaking and all obligations set forth herein shall expire upon finality of all appeals

of the final settlement order and judgment pertaining to attorneys’ fees, such that the finality of those

fees no longer remains in doubt.

       In the event Co-Lead Counsel fails to repay to the National Association of REALTORS®

any of attorneys’ fees and costs that are owed to it pursuant to this Undertaking, the Court shall, upon

application of the National Association of REALTORS®, and notice to Co-Lead Counsel, summarily

issue orders, including but not limited to judgments and attachment orders against Co-Lead Counsel.

       The undersigned stipulate, warrant, and represent that they have both actual and apparent

authority to enter into this stipulation, agreement, and undertaking on behalf of each firm identified

as Co-Lead Counsel. This agreement will only be effective upon its execution by each firm identified

in the Settlement Agreement as Co-Lead Counsel.

       Co-Lead Counsel acknowledge that this Undertaking is a material component of the

Settlement Agreement and agree to use its reasonable efforts to timely effect the terms specified in

this Undertaking. Each undersigned warrants and represents that it is not “insolvent” within the

meaning of applicable bankruptcy laws as of the time this Undertaking is executed.




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           This Undertaking may be executed in one or more counterparts, each of which

    shall be deemed an original but au of which together shall constitute one and the same

    instrument.

           Signatures by facsimile shall be as effective as original signatures.

          The undersigned declare under penalty of perjury under the laws of the United

    States and the State of Missouri that they have read and understand the foregoing and

    that it is true and cooect




    Williams Dirks Da�er:911-LLG
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    �;:✓/




Hagens Berman Sobol Shapiro LLP




Cohen Milstein Sellers & Toll PLLC


     /I
       cw
Susman Godfrey




    Cooley LLP




      Case 4:19-cv-00332-SRB
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           APPENDIX B - REALTOR® MLS “OPT IN” AGREEMENT

                      UNITED STATES DISTRICT COURT
              WESTERN DISTRICT OF MISSOURI WESTERN DIVISION

RHONDA BURNETT, JEROD BREIT, HOLLEE ELLIS,
FRANCES HARVEY, and JEREMY KEEL, on behalf of
themselves and all others similarly situated,

                Plaintiffs,

      v.
                                                             Case No. 19-cv-00332-SRB
THE NATIONAL ASSOCIATION OF REALTORS®,
REALOGY HOLDINGS CORP., HOMESERVICES OF
AMERICA, INC., BHH AFFILIATES, LLC, HSF
AFFILIATES, LLC, RE/MAX LLC, and NATIONAL
ASSOCIATION OF REALTORS® REALTY, INC.,

                Defendants.



                     UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

CHRISTOPHER MOEHRL, MICHAEL COLE, STEVE
DARNELL, JACK RAMEY, DANIEL UMPA and JANE RUH
on behalf of themselves and all others similarly situated,

                Plaintiffs,

      v.
                                                             Case No. 1:19-cv-01610-ARW
THE NATIONAL ASSOCIATION OF REALTORS®,
REALOGY HOLDINGS CORP., HOMESERVICES OF
AMERICA, INC., BHH AFFILIATES, LLC, HSF
AFFILIATES, LLC, THE LONG & FOSTER COMPANIES,
INC., RE/MAX LLC, and KELLER WILLIAMS REALTY,
INC.,

                Defendants.




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       WHEREAS, some plaintiffs have alleged that certain MLSs participated in a conspiracy to

raise, fix, maintain, or stabilize real estate commissions in violation of Section 1 of the Sherman Act

and corresponding state laws;

       WHEREAS, Stipulating MLS is a REALTOR® MLS and denies Plaintiffs’ allegations in the

Actions;

       WHEREAS, Plaintiffs have conducted an extensive investigation into the facts and the law

regarding the claims and allegations asserted in the Actions, including more than four years of fact

and expert discovery, and have concluded that a settlement according to the terms set forth below is

fair, reasonable, and adequate and in the best interest of Plaintiffs and the Settlement Class;

       WHEREAS, Stipulating MLS believes that it is not liable for the claims and allegations

asserted and has good defenses, but nevertheless has decided to enter into this agreement to avoid

further expense, inconvenience, and the distraction of burdensome and protracted litigation, to obtain

the nationwide releases, orders, and judgment contemplated by the Settlement Agreement, and to put

to rest with finality all claims and allegations that Plaintiffs and Settlement Class Members have or

could have asserted against the Stipulating MLS; and

       WHEREAS, Stipulating MLS has agreed to cooperate with Plaintiffs and to implement

certain practice changes, each as set forth in the Settlement Agreement and Appendix B.

       NOW, THEREFORE, in consideration of the agreements and releases set forth in the

Settlement Agreement and Appendix B and other good and valuable consideration, and intending to

be legally bound, it is agreed by and between ____________________________________

(“Stipulating MLS”) and the Plaintiffs that the Actions be settled, compromised, and dismissed with

prejudice as to Stipulating MLS only, without costs to Plaintiffs, the Settlement Class or Stipulating

MLS except as provided for herein, subject to the approval of the Court, on the following terms and

conditions:

                                                   2
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       1.     Stipulating MLS agrees that the terms reflected in this Appendix B shall have the

same meaning as those defined in the Settlement Agreement.

       2.     Stipulating MLS represents that it is a REALTOR® MLS, as that term is defined in

the Settlement Agreement. This representation is a material component of Appendix B and

Stipulating MLS’s inclusion as a Released Party.

       3.     Stipulating MLS agrees that, to be effective, it must provide an executed version of

this Appendix B to the below email address within 60 days of the filing of the first motion for

preliminary approval of the Settlement Agreement:

             (1) realtorsoptin@jndla.com, (2) realtorsoptin@cohenmilstein.com, and

                                   (3) nargovernance@nar.realtor

       4.     As a condition for being a Released Party, as that term is defined in the Settlement

Agreement, stipulating MLS agrees to be bound by the practice changes in Paragraph 68 and the

cooperation terms in Paragraph 69 of the Settlement Agreement.

       5.     As soon as practicable, and in no event later than 150 days after the filing of the first

motion for preliminary approval of the Settlement Agreement, each Stipulating MLS will implement

the following practice changes:

             i.       eliminate any requirement by the MLS that listing brokers or sellers must

       make offers of compensation to cooperating brokers or other buyer representatives (either

       directly or through buyers), and eliminate any requirement that such offers, if made, must be

       blanket, unconditional, or unilateral;

            ii.       prohibit the MLS participants, subscribers, other real estate brokers, other real

       estate agents, and sellers from (a) making offers of compensation on the multiple listing

       service to cooperating brokers or other buyer representatives (either directly or through

       buyers); or (b) disclosing on the multiple listing service listing broker compensation or total

                                                   3
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  brokerage compensation (i.e., the combined compensation to both listing brokers and

  cooperating brokers);

      iii.       eliminate all broker compensation fields on the MLS, and prohibit the sharing

  of offers of compensation to buyer brokers or other buyer representatives via any other fields

  on the MLS;

       iv.       eliminate and prohibit any requirements conditioning participation or

  membership in an MLS on offering or accepting compensation to buyer brokers or other

  buyer representatives;

       v.        agree not to create, facilitate, or support any non-MLS mechanism (including

  by providing listing information to an internet aggregators’ website for such purpose) for

  listing brokers or sellers to make offers of compensation to buyer brokers or other buyer

  representatives (either directly or through buyers), however, this provision is not violated by

  (a) a REALTOR® MLS providing data or data feeds to a REALTOR®, REALTOR® MLS

  participant, or third party unless the REALTOR® MLS knows those data or data feeds are

  being used directly or indirectly to establish or maintain a platform for offers of compensation

  from multiple brokers (i.e., the REALTOR® MLS cannot intentionally circumvent this

  requirement); or (b) a REALTOR® or REALTOR® MLS Participant displaying both (1) data

  or data feeds from an MLS and (2) offers of compensation to buyer brokers or other buyer

  representatives but only on listings from their own brokerage;

       vi.       unless inconsistent with state or federal law or regulation before or during the

  operation of this Paragraph 5(vi) of Appendix B, require that all MLS Participants working

  with a buyer enter into a written agreement before the buyer tours any home with the

  following:

                 a.        to the extent that such a Participant will receive compensation from

                                             4
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         any source, the agreement must specify and conspicuously disclose the amount or rate

         of compensation it will receive or how this amount will be determined;

                  b.     the amount of compensation reflected must be objectively

         ascertainable and may not be open-ended (e.g., “buyer broker compensation shall be

         whatever amount the seller is offering to the buyer”); and

                  c.     such a Participant may not receive compensation for brokerage

         services from any source that exceeds the amount or rate agreed to in the agreement

         with the buyer;

      vii.        prohibit Participants, subscribers, and other real estate brokers and agents

  accessing the multiple listing service from representing to a client or customer that their

  brokerage services are free or available at no cost to their clients, unless they will receive no

  financial compensation from any source for those services;

     viii.        require MLS Participants acting for sellers to conspicuously disclose to sellers

  and obtain seller approval for any payment or offer of payment that the listing broker or seller

  will make to another broker, agent, or other representative (e.g., a real estate attorney) acting

  for buyers; and such disclosure must be in writing, provided in advance of any payment or

  agreement to pay to another broker acting for buyers, and specify the amount or rate of any

  such payment;

       ix.        require MLS Participants to disclose to prospective sellers and buyers in

  conspicuous language that broker commissions are not set by law and are fully negotiable (i)

  in their listing agreement if it is not a government-specified form, (ii) in their agreement with

  buyers if it is not a government-specified form, and (iii) in pre-closing disclosure documents

  if there are any and they are not government-specified forms. In the event that the listing

  agreement, buyer representation agreement, or pre-closing disclosure documents are a

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        government form, then MLS participants must include a disclosure with conspicuous

        language expressly stating that broker commissions are not set by law and are fully

        negotiable.

               x.          to the extent that the multiple listing services publishes form listing

        agreements, buyer representation agreements, or pre-closing disclosure documents for use by

        REALTORS®, participants, and/or subscribers, ensure that those forms include language

        disclosing to prospective sellers and buyers in conspicuous language that broker commissions

        are not set by law and are fully negotiable.

              xi.          require that MLS Participants and subscribers must not filter out or restrict

        MLS listings communicated to their customers or clients based on the existence or level of

        compensation offered to the broker assisting the buyer;

             xii.          rescind or modify any existing rules that are inconsistent with the practice

        changes reflected in this Paragraph 5 of Appendix B; and

             xiii.         develop or provide educational materials developed by the National

        Association of REALTORS® that reflect and are consistent with each provision in these

        practice changes, and eliminate educational materials, if any, that are contrary to it.

             xiv.          the practice changes in Paragraph 5 of Appendix B shall not prevent (a) offers

        of compensation to buyer brokers or other buyer representatives off of the multiple listing

        service or (b) sellers from offering buyer concessions on an MLS (e.g., for buyer closing

        costs), so long as such concessions are not limited to or conditioned on the retention of or

        payment to a cooperating broker, buyer broker, or other buyer representative.

        6.          The obligations set forth in Paragraph 5 of this Appendix B will terminate 7 years

after the notice date.




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       7.         Stipulating MLS agrees to provide proof of compliance with these practice changes

if requested by Co-Lead Counsel.

       8.         Stipulating MLS will provide valuable cooperation to Plaintiffs and Settlement Class

Member as follows in the Actions, including to the extent that any is consolidated pursuant to In re

Real Estate Commission Antitrust Litigation (MDL No. 3100):

              i.         use reasonable efforts to authenticate documents and/or things produced by it

       in the Actions where the facts indicate that the documents and/or things at issue are authentic,

       by declarations or affidavits if possible, or at hearings or trial if necessary;

             ii.         use reasonable efforts to provide the facts necessary to establish, where

       applicable, that documents and/or things produced by it in the Actions are “business records,”

       a present sense impression, an excited utterance, a recorded recollection, or are otherwise

       admissible under the Federal Rules of Evidence, by declarations or affidavits if possible, or

       at hearings or trial if necessary;

            iii.         use reasonable efforts at their expense to provide relevant class member and

       listing data and answer questions about that data to support the provision of class notice,

       administration of any settlements, or the litigation of the Actions;

            iv.          stipulate that Plaintiffs have the consent to obtain from third parties relevant

       class member and listing data to support the provision of class notice, administration of any

       settlements, or the litigation of the Actions;

             v.          agree that Plaintiffs may use in the remaining Actions any discovery materials

       provided by it or its officers or employees in Moehrl or Burnett;

            vi.          agree that the Settlement Agreement and Appendix B shall not preclude

       Plaintiffs from seeking the production of non-privileged documents in its possession, custody,

       or control;

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             vii.       if a Defendant includes a witness on a witness list in the Actions who is then

       a current officer or employee of the multiple listing service, the multiple listing service will

       cooperate in providing access via counsel to that witness prior to trial testimony for up to two

       (2) hours;

             viii.      withdraw any existing response before the Judicial Panel on Multidistrict

       Litigation with respect to In re Real Estate Commission Antitrust Litigation (MDL No. 3100);

       and

              ix.       agree not to provide greater assistance in discovery or trial to any defendant

       or other non-Released Party in the Actions than to the Plaintiffs unless required by subpoena

       or other compulsory process.

       9.        Stipulating MLS’s cooperation obligations, as set forth in Paragraph 8 of Appendix

B, shall not require the production of information, testimony, and/or documents that are protected

from disclosure by the attorney-client privilege, work product doctrine, joint defense privilege, or

any other applicable privilege or doctrine.

       10.       Stipulating MLS’s obligation to cooperate will not be affected by the release set forth

in the Settlement Agreement, Appendix B, or the final judgment orders with respect to National

Association of REALTORS®. Unless this Settlement Agreement or Appendix B is rescinded,

disapproved, or otherwise fails to become Effective, the obligation to cooperate as set forth here will

continue until the date that final judgment has been entered in all of the Actions and the time for

appeal or to seek permission to appeal from the entry of a final judgment has expired or, if appealed,

any final judgment has been affirmed in its entirety by the court of last resort to which such appeal

has been taken and such affirmance is no longer subject to further appeal or review.




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       11.     Stipulating MLS acknowledges that the practice changes and cooperation set forth in

Paragraphs 5 and 8 of Appendix B are material components of Appendix B and agrees to use its

reasonable best efforts to provide them.

       12.     Stipulating MLS consents to entry of a final judgment order enjoining Stipulating

MLS in accordance with the provisions of Paragraph 68 of the Settlement Agreement.

       13.     The terms of Appendix B are and shall be binding upon and inure to the benefit of, to

the fullest extent possible, each of Plaintiffs and Stipulating MLS, and upon all other Persons

claiming any interest in the subject matter hereto through any of the Settling Parties, Releasing

Parties, Released Parties, and any Settlement Class Members.

       14.     Any disputes between Stipulating MLS and Co-Lead Counsel concerning this

Appendix B shall, if they cannot be resolved, be presented first to an agreed mediator for assistance

in mediating a resolution and, if a resolution is not reached, to the Court.

       15.     The Court shall retain jurisdiction over the implementation and enforcement of the

Settlement Agreement and the Settlement, including Appendix B.

       16.     Stipulating MLS acknowledges that it has been and is being fully advised by

competent legal counsel of Stipulating MLS’s own choice and fully understands the terms and

conditions of the Settlement Agreement, including Appendix B, and the meaning and import thereof,

and that such Stipulating MLS’s execution of this Appendix B is with the advice of such Stipulating

MLS’s counsel and of such Stipulating MLS’s own free will. Stipulating MLS submits to the

exclusive jurisdiction of the Court for the purposes of interpreting and enforcing the terms of

Appendix B, including but not limited to, the practice changes contained therein. Stipulating MLS

represents and warrants that it has sufficient information regarding the transaction and the other

parties to reach an informed decision and has, independently and without relying upon the other

parties, and based on such information as it has deemed appropriate, made its own decision to enter

                                                   9
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into the Settlement Agreement, including Appendix B, and was not fraudulently or otherwise

wrongfully induced to enter into the Settlement Agreement.

       17.    Each of the undersigned represents that he or she is fully authorized to enter into the

terms and conditions of, and to execute, this Appendix B.




Date: ____ day of ________________, 2024




____________________________

On behalf of __________________




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             APPENDIX C – BROKERAGE “OPT IN” AGREEMENT

                      UNITED STATES DISTRICT COURT
              WESTERN DISTRICT OF MISSOURI WESTERN DIVISION

RHONDA BURNETT, JEROD BREIT, HOLLEE ELLIS,
FRANCES HARVEY, and JEREMY KEEL, on behalf of
themselves and all others similarly situated,

                Plaintiffs,

      v.
                                                             Case No. 19-CV-00332-SRB
THE NATIONAL ASSOCIATION OF REALTORS®,
REALOGY HOLDINGS CORP., HOMESERVICES OF
AMERICA, INC., BHH AFFILIATES, LLC, HSF
AFFILIATES, LLC, RE/MAX LLC, and NATIONAL
ASSOCIATION OF REALTORS® REALTY, INC.,

                Defendants.



                     UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

CHRISTOPHER MOEHRL, MICHAEL COLE, STEVE
DARNELL, JACK RAMEY, DANIEL UMPA and JANE RUH
on behalf of themselves and all others similarly situated,

                Plaintiffs,

      v.
                                                             Case No. 1:19-cv-01610-ARW
THE NATIONAL ASSOCIATION OF REALTORS®,
REALOGY HOLDINGS CORP., HOMESERVICES OF
AMERICA, INC., BHH AFFILIATES, LLC, HSF
AFFILIATES, LLC, THE LONG & FOSTER COMPANIES,
INC., RE/MAX LLC, and KELLER WILLIAMS REALTY,
INC.,

                Defendants.




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       WHEREAS, Plaintiffs allege that the National Association of REALTORS®, its members,

and real estate brokers participating in MLSs throughout the United States participated in a

conspiracy to raise, fix, maintain, or stabilize real estate commissions in violation of Section 1 of the

Sherman Act and corresponding state laws;

       WHEREAS, Stipulating Party denies these allegations;

       WHEREAS, Plaintiffs have conducted an extensive investigation into the facts and the law

regarding the claims and allegations that have been and/or could be asserted against Stipulating Party,

including more than four years of fact and expert discovery, and have concluded that a settlement

according to the terms set forth below is fair, reasonable, and adequate and in the best interest of

Plaintiffs and the Settlement Class;

       WHEREAS, Stipulating Party believes that it is not liable for the claims and allegations

asserted and has good defenses, but nevertheless has decided to enter into this Appendix C to avoid

further expense, inconvenience, and the distraction of burdensome and protracted litigation, to obtain

the nationwide releases, orders, and judgment contemplated by this Appendix C, and to put to rest

with finality all claims and allegations that Plaintiffs and Settlement Class Members have or could

have asserted against the Stipulating Party; and

       WHEREAS, Stipulating Party has agreed to cooperate with Plaintiffs and to implement

certain practice changes, each as set forth in this Appendix C.

       NOW, THEREFORE, in consideration of the agreements and releases set forth in the

Settlement Agreement and Appendix C and other good and valuable consideration, and intending to

be legally bound, it is agreed by and between ____________________________________

(“Stipulating Party”) and the Plaintiffs that certain actual or potential claims be settled, compromised,

and dismissed with prejudice as to Stipulating Party, without costs to Plaintiffs, the Settlement Class

or Stipulating Party except as provided for herein, subject to the approval of the Court, on the

                                                   1
    Case 4:19-cv-00332-SRB             Document 1458-1        Filed 04/19/24      Page 69 of 116
following terms and conditions:

A.     Definitions

       Stipulating Party agrees that the terms reflected in this Appendix C shall have the same

meaning as those defined in the Settlement Agreement, unless otherwise specified. The following

terms, as used in this Appendix C only, have the following meanings:

       1.     “Burnett” means the case pending in the United States District Court for the Western

District of Missouri Case No. 4:19-cv-00332-SRB, which is currently pending.

       2.     “Burnett MLSs” means the multiple listing services identified as Subject MLSs in

Burnett.

       3.     “Co-Lead Counsel” means the following law firms:

              KETCHMARK AND MCCREIGHT P.C.
              11161 Overbrook Road, Suite 210
              Leawood, KS 66211

              BOULWARE LAW LLC
              1600 Genessee, Suite 416
              Kansas City, MO 64102

              WILLIAMS DIRKS DAMERON LLC
              1100 Main Street, Suite 2600
              Kansas City, MO 64105

              HAGENS BERMAN SOBOL SHAPIRO LLP
              1301 Second Avenue, Suite 2000
              Seattle, WA 98101

              COHEN MILSTEIN SELLERS & TOLL PLLC
              1100 New York Ave. NW, Fifth Floor
              Washington, DC 20005

              SUSMAN GODFREY L.L.P.
              1900 Avenue of the Stars, Suite 1400
              Los Angeles, CA 90067

       4.     “Court” means the United States District Court for the Western District of Missouri.




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       5.      “Effective” means that all conditions set forth below in the definition of “Effective

Date” have occurred.

       6.      “Effective Date” means the date when both: (a) the Court has entered a final judgment

order approving the Settlement under Rule 23(e) of the Federal Rules of Civil Procedure and a final

judgment dismissing the Actions against the National Association of REALTORS® with prejudice

has been entered; and (b) the time for appeal or to seek permission to appeal from the Court’s

approval of the Settlement and the entry of a final judgment has expired or, if appealed, approval of

the Settlement and the final judgment have been affirmed in their entirety by the court of last resort

to which such appeal has been taken and such affirmance is no longer subject to further appeal or

review; excluding, however, any appeal or other proceedings unrelated to this Settlement initiated

by any Non-National Association of REALTORS® Defendant, and any such appeal or other

proceedings shall not delay this Settlement from becoming final and shall not apply to this Paragraph;

nor shall this Paragraph be construed as an admission that such parties have standing or other rights

of objection or appeal with respect to this Settlement. It is agreed that neither the provisions of

Federal Rule of Civil Procedure 60 nor the All Writs Act, 28 U.S.C. § 1651, shall be considered in

determining the above-stated times.

       7.      “Moehrl” means the case pending in the Northern District of Illinois Case No. 1:19-

cv-01610-ARW, which is currently pending.

       8.      “Moehrl MLSs” means the multiple listing services named in Moehrl.

       9.      “MLS PIN” means the multiple listing service at issue in United States District Court

for the District of Massachusetts Case No. I :20-cv-12244-PBS, which is currently pending.

       10.     “Opt-Outs” means members of the Settlement Class who have timely exercised their

rights to be excluded from the Settlement Class or have otherwise obtained Court approval to exercise

such rights.

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        11.     “Person” means an individual, corporation, partnership, limited partnership,

association, joint stock company, estate, legal representative, trust, unincorporated association,

government or any political subdivision or agency thereof, any business or legal entity, and such

individual’s or entity’s spouse, heirs, predecessors, successors, representatives, affiliates, and

assignees.

        12.     “Released Claims” means any and all manner of claims, regardless of the cause of

action, arising from or relating to conduct that was alleged or could have been alleged in the Actions

based on any or all of the same factual predicates for the claims alleged in the Actions, including but

not limited to commissions negotiated, offered, obtained, rebated, or paid to brokerages in connection

with the sale of any residential home.

        13.     “Released Parties” means Stipulating Party and its past, present, and future, direct and

indirect, parents, subsidiaries, predecessors, successors (all as defined in SEC rule 12b-2

promulgated pursuant to the Securities Exchange Act of 1934), franchisees, officers, directors,

managing directors, employees, agents, contractors, independent contractors, attorneys, legal or other

representatives, accountants, auditors, experts, trustees, trusts, heirs, beneficiaries, estates, executors,

administrators, insurers, and assigns. However, “Released Parties” shall not include any Person who

is excluded from being a released party under Paragraphs 18(g) or (h) of the Settlement Agreement.

        14.     “Releasing Parties” means Plaintiffs and any Settlement Class Members (including

any of their immediate family members, heirs, representatives, administrators, executors, devisees,

legatees, and estates, acting in their capacity as such; and for entities including any of their past,

present or future officers, directors, insurers, general or limited partners, divisions, stockholders,

agents, attorneys, employees, legal representatives, trustees, parents, associates, affiliates, joint

ventures, subsidiaries, heirs, executors, administrators, predecessors, successors and assigns, acting




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in their capacity as such solely with respect to the claims based on or derived from claims of the

Plaintiffs or Settlement Class Members).

       15.     “Settlement” means the settlement of the Actions contemplated by this Appendix C.

       16.     “Settlement Class” means the class of persons that will be certified by the Court for

settlement purposes only, namely, all persons who sold a home that was listed on a multiple listing

service anywhere in the United States where a commission was paid to any brokerage in connection

with the sale of the home in the following date ranges:

               •       Homes listed on Moehrl MLSs: March 6, 2015 to date of Class Notice;

               •       Homes listed on Burnett MLSs: April 29, 2014 to date of Class Notice;

               •       Homes listed on MLS PIN: December 17, 2016 to date of Class Notice;

               •       Homes in Arkansas, Kentucky, and Missouri, but not on the Moehrl MLSs,

       the Burnett MLSs, or MLS PIN: October 31, 2018 to date of Class Notice;

               •       Homes in Alabama, Georgia, Indiana, Maine, Michigan, Minnesota, New

       Jersey, Pennsylvania, Tennessee, Vermont, Wisconsin, and Wyoming, but not on the Moehrl

       MLSs, the Burnett MLSs, or MLS PIN: October 31, 2017 to date of Class Notice;

               •       For all other homes: October 31, 2019 to date of Class Notice.

For avoidance of doubt, Plaintiffs and Stipulating Party intend this Settlement to provide for a

nationwide class with a nationwide settlement and release.

       17.     “Settlement Class Member” means a member of the Settlement Class who does not

file a valid request for exclusion from the Settlement Class.

       18.     “Settling Parties” means Plaintiffs and Stipulating Party.

B.     Operation of the Settlement

       19.     Stipulating Party represents that neither it nor its past or present, direct or indirect

parents (including holding companies), subsidiaries, affiliates (all as defined in SEC rule 12b-2

                                                  5
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promulgated pursuant to the Securities Exchange Act of 1934), associates, predecessors, successors,

franchisors, or franchisees is a defendant in the Actions, as that term is defined in the Settlement

Agreement. This representation is a material component of Appendix C and Stipulating Party’s

inclusion as a Released Party

       20.     Settling Parties agree that, as a condition precedent for this Appendix C to become

effective, Stipulating Party must deliver to the below email address within 60 days of the filing of

the first motion for preliminary approval of the Settlement Agreement each of the following: (i) an

executed version of this Appendix C; (ii) a declaration sworn pursuant 28 U.S.C. § 1746 by a

competent officer of Stipulating Party accurately attesting to the Stipulating Party’s “Total

Transaction Volume” for each of the most recent four calendar years; and (iii) an indication of

whether Stipulating Party selects either “Option 1” or “Option 2” as defined in this Appendix C:

              (1) realtorsoptin@jndla.com (2) realtorsoptin@cohenmilstein.com and

                                  (3) nargovernance@nar.realtor

       21.     As a condition for being a Released Party, Stipulating Party agrees to be bound by

this Appendix C, including the practice changes and cooperation terms reflected in Paragraphs 35-

41 of Appendix C.

       22.     Option 1: Plaintiffs will open a special interest-bearing settlement escrow account or

accounts, established for that purpose as a qualified settlement fund as defined in Section 1.468B-

1(a) of the United States Treasury Regulations (the “Escrow Account”). Within 120 days following

preliminary approval of the Settlement Agreement by the Court, Stipulating Party will deposit into

the Escrow Account an amount equal to 0.0025 multiplied by its average annual Total Transaction

Volume over the most recent four calendar years (“Total Monetary Settlement Amount”). “Total

Transaction Volume” is defined as the aggregate value of all residential home sales and purchases

in which the Stipulating Entity and its direct and indirect parents (including holding companies),

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subsidiaries, affiliates, associates (all as defined in SEC rule 12b-2 promulgated pursuant to the

Securities Exchange Act of 1934), and any of their franchisees represented in a real estate brokerage

capacity either the buyer, the seller, or both. For any transactions in which a real estate broker

represented both the buyer and the seller, that transaction shall be counted twice for purposes of

calculating the “Total Transaction Volume.” By way of example, a Stipulating Party with a $2 billion

average annual Total Transaction Volume would be required under this agreement to deposit $5

million in the Escrow Account.

       23.     Option 2: Alternatively, to the extent Stipulating Party has a good faith belief that it

lacks the ability to pay the amount required under Option 1, Stipulating Party agrees to participate

in a non-binding mediation with Co-Lead Counsel to occur within 110 days following preliminary

approval of the Settlement Agreement by the Court. That mediation will occur before Greg

Lindstrom, of Phillips ADR Enterprises, P.C. or another mediator jointly selected by the parties to

Appendix C. The costs of the mediation shall be borne entirely by Stipulating Party. Plaintiffs and

Stipulating Party agree to maintain the confidentiality of all settlement discussions and materials

exchanged during the settlement negotiation, including the mediation. If, following the non-binding

mediation described herein, Stipulating Party and Co-Lead Counsel are unable to reach agreement

on a settlement within 130 days following preliminary approval of the Settlement Agreement by the

Court, Stipulating Party shall not become a “Released Party” under the Settlement Agreement

(including this Appendix C) and any further rights or obligations under the Settlement Agreement

(including this Appendix C) of Stipulating Party, Plaintiffs, Co-Lead Counsel, or the Settlement

Class to one another shall terminate.

C.     Stipulation to Class Certification

       24.     The Settling Parties hereby stipulate for purposes of this settlement only, that the

requirements of Federal Rules of Civil Procedure 23(a), 23(b)(2), and 23(b)(3) are satisfied and,

                                                  7
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subject to Court approval, the Settlement Class shall be certified for settlement purposes as to

Stipulating Party. The Settling Parties stipulate and agree to the conditional certification of the

Settlement Class for purposes of this Settlement only. Should, for whatever reason, the Settlement

not become Effective, the Settling Parties’ stipulation to class certification as part of the Settlement

shall become null and void.

       25.     Neither the Settlement, Appendix C, or Settlement Agreement, nor any statement,

transaction, or proceeding in connection with the negotiation, execution, or implementation of the

Settlement, Appendix C, or Settlement Agreement should be intended to be, construed as, or deemed

to be evidence of an admission or concession by Stipulating Party that a class should be or should

have been certified for any purposes other than settlement, and none of them shall be admissible in

evidence for any such purpose in any proceeding.

D.     Approval of this Appendix C and Dismissal of the Actions

       26.     The Settling Parties agree to make reasonable best efforts to effectuate the Settlement

Agreement (including Appendix C), including, but not limited to, seeking the Court’s approval of

procedures (including the giving of class notice under Federal Rules of Civil Procedure 23(c) and

(e)); scheduling a final fairness hearing to obtain final approval of the settlement and the final

dismissal with prejudice of the Actions as to Stipulating Party; and Stipulating Party’s cooperation

by providing information reflecting its ability to pay limitations.

       27.     Plaintiffs will submit to the Court a motion requesting that the Court preliminarily

approve the Settlement reflected in Appendix C (the “Motion”). The Motion may be separate from

and be filed at a different time than the preliminary approval motion provided in connection with the

other class relief afforded in the Settlement Agreement by the National Association of

REALTORS®. The Motion shall include a proposed form of order preliminarily approving the

Settlement and enjoining Releasing Parties from prosecuting any Released Claims in any forum until

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the Effective Date of this Settlement reflected in Appendix C. Stipulating Party shall not have any

right or opportunity to review the Motion. The Settling Parties shall take all reasonable actions as

may be necessary to obtain preliminary approval of the Settlement reflected in Appendix C. To the

extent the Court finds that the Settlement does not meet the standard for preliminary approval, the

Settling Parties will negotiate in good faith to modify Appendix C directly or with the assistance of

an agreed mediator and will endeavor to resolve any issues to the satisfaction of the Court.

       28.     Subject to approval by the Court, Plaintiffs will undertake a method of providing

notice of this Settlement to the Settlement Class and for claim administration that meets the

requirements of due process and Federal Rule of Civil Procedure 23 and is substantially similar to

the forms of notice already agreed-to and approved by the Court in the previous settlements with

Anywhere, RE/MAX, and Keller Williams. Class members who file a claim under the Anywhere,

RE/MAX and Keller Williams settlements will be deemed to also make a claim against this

Settlement unless they affirmatively state they are not claiming this Settlement. The Settling Parties

agree to the use of the claims administrator previously selected to administer the Anywhere,

RE/MAX, and Keller Williams settlements and approved by the Court. The timing of any request to

disseminate notice to the Settlement Class will be at the discretion of Co-Lead Counsel and may

occur separately from and at a different time than the class notice provided in connection with the

class relief afforded in the Settlement Agreement by the National Association of REALTORS®.

       29.     Within ten (10) calendar days after the filing with the Court of this Appendix C and

the accompanying motion papers seeking its preliminary approval, the claims administrator shall at

Stipulating Party’s expense to be credited against the Total Monetary Settlement Amount cause

notice of the Settlement to be served upon appropriate State and Federal officials as provided in the

Class Action Fairness Act, 28 U.S.C. § 1715.




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       30.     If the Settlement is preliminarily approved by the Court, Plaintiffs shall timely seek

final approval of the Settlement and entry of a final judgment order as to Stipulating Party:

               (a) certifying the Settlement Class under Federal Rule of Civil Procedure 23(b), solely

       for purposes of this Settlement;

               (b) granting final approval of the Settlement as fair, reasonable, and adequate within

       the meaning of Federal Rules of Civil Procedure 23(e) and directing the consummation of the

       Settlement according to its terms;

               (c) enjoining the Stipulating Party in accordance with the provisions of Paragraph 35

       of Appendix C.

               (d) directing that, as to Stipulating Party only, the Actions be dismissed with prejudice

       and, except as provided for herein, without costs;

               (e) reserving exclusive jurisdiction over the Settlement and this Appendix C,

       including reserving exclusive jurisdiction over the administration and consummation of this

       Settlement to the Court; and

               (f) determining under Federal Rule of Civil Procedure 54(b) that there is no just reason

       for delay and directing entry of final judgment as to Stipulating Party.

       31.     This Appendix C will become Effective only after the occurrence of all conditions set

forth above in the definition of the Effective Date.

E.     Releases, Discharge, and Covenant Not to Sue

       32.     Upon the occurrence of the Effective Date, the Releasing Parties expressly and

irrevocably waive, and fully, finally, and forever settle, discharge, and release the Released Parties

from, any and all manner of claims, demands, actions, suits, and causes of action, whether individual,

class, representative, or otherwise in nature, for damages, restitution, disgorgement, interest, costs,

expenses, attorneys’ fees, fines, civil or other penalties, or other payment of money, or for injunctive,

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declaratory, or other equitable relief, whenever incurred, whether directly, indirectly, derivatively,

or otherwise, whether known or unknown, suspected or unsuspected, in law or in equity, that any

Releasing Party ever had, now has, or hereafter can, shall, or may have and that have accrued as of

the date of preliminary approval of the Settlement arising from or related to the Released Claims.

The Released Claims include but are not limited to the antitrust and consumer protection claims

brought in the Actions and similar state and federal statutes. In connection therewith, upon the

Effective Date of Settlement, each of the Releasing Parties (i) shall forever be enjoined from

prosecuting in any forum any Released Claims against any of the Released Parties that accrued from

the beginning of time through the date of preliminary approval of the Settlement; and (ii) agrees and

covenants not to sue any of the Released Parties with respect to any Released Claims. For avoidance

of doubt, this release extends to, but only to, the fullest extent permitted by law.

       33.     The Releasing Parties may hereafter discover facts other than or different from those

which they now know or believe to be true with respect to the subject matter of the Released Claims.

Nevertheless, the Releasing Parties expressly, fully, finally, and forever settle and release, and, upon

the Effective Date, shall be deemed to have, and by operation of the Final Judgment and Order of

Dismissal shall have, fully, finally, and forever settled and released, any and all Released Claims,

without regard to the subsequent discovery or existence of such other, different, or additional facts,

as well as any and all rights and benefits existing under (i) Cal. Civ. Code Section 1542, which

provides as follows:

                       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS

                       THAT THE CREDITOR OR RELEASING PARTY DOES

                       NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER

                       FAVOR AT THE TIME OF EXECUTING THE RELEASE

                       AND THAT, IF KNOWN BY HIM OR HER, WOULD

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                        HAVE     MATERIALLY            AFFECTED      HIS    OR     HER

                        SETTLEMENT WITH THE DEBTOR OR RELEASED

                        PARTY.

or any equivalent, similar or comparable present or future law or principle of law of any jurisdiction,

including but not limited to Section 20-7-11 of the South Dakota Codified Laws, which provides that

“A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE CREDITOR DOES

NOT KNOW OR SUSPECT TO EXIST IN HIS FAVOR AT THE TIME OF EXECUTING THE

RELEASE, WHICH IF KNOWN BY HIM MUST HAVE MATERIALLY AFFECTED HIS

SETTLEMENT WITH THE DEBTOR;” or (ii) any law or principle of law of any jurisdiction that

would limit or restrict the effect or scope of the provisions of the release set forth above, without

regard to the subsequent discovery or existence of such other, different, or additional facts. The

Releasing Parties acknowledge that the inclusion of unknown claims in the definition of Released

Claims was separately bargained for and was a material element of the Settlement Agreement.

       34.     The Releasing Parties intend by this Appendix C to settle with and release only the

Released Parties, and the Settling Parties do not intend this Appendix C, or any part hereof, or any

other aspect of the proposed Settlement or release, to release or otherwise affect in any way any

claims concerning product liability, breach of warranty, breach of contract or tort of any kind (other

than a breach of contract or tort based on any factual predicate in the Actions), a claim arising out of

violation of the Uniform Commercial Code, or personal or bodily injury. The release does not extend

to any individual claims that a class member may have against his or her own broker or agent based

on a breach of contract, breach of fiduciary duty, malpractice, negligence or other tort claim, other

than a claim that a class member paid an excessive commission or home price due to the claims at

issue in the Actions.

F.     Practice Changes

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       35.      Stipulating Party agrees that, as soon as practicable, and in no event later than 150

days after the filing of the first motion for preliminary approval of this Settlement Agreement,

Stipulating Party (defined for purposes of this paragraph to include present and future, direct and

indirect corporate subsidiaries, related entities and affiliates, predecessors, and successors, but not

franchisees) will implement the following practice changes:

               i.      advise and periodically remind Stipulating Party’s company-owned

       brokerages, franchisees (if any), and their agents that there is no Stipulating Party

       requirement that they must make offers to or must accept offers of compensation from

       cooperating brokers or that, if made, such offers must be blanket, unconditional, or unilateral;

              ii.      require that any Stipulating Party company-owned brokerages and their

       agents (and recommend and encourage that any franchisees and their agents) disclose to

       prospective home sellers and buyers and state in conspicuous language that broker

       commissions are not set by law and are fully negotiable (i) in their listing agreement if it is

       not a government or MLS-specified form, (ii) in their buyer representation agreement if there

       is one and it is not a government or MLS-specified form, and (iii) in pre-closing disclosure

       documents if there are any and they are not government or MLS-specified forms. In the event

       that the listing agreement, buyer representation agreement, or pre-closing disclosure

       documents is a government or MLS-specified form, then Stipulating Party will require that

       any company-owned brokerages and their agents (and recommend and encourage that any

       Stipulating Party franchisees and their agents) include a disclosure with conspicuous

       language expressly stating that broker commissions are not set by law and are fully

       negotiable;

             iii.      prohibit all Stipulating Party company-owned brokerages and their agents

       acting as buyer representatives (and recommend and encourage that franchisees and their

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       agents acting as buyer representatives refrain) from advertising or otherwise representing

       that their services are free;

             iv.          require that company owned brokerages and their agents disclose at the

       earliest moment possible any offer of compensation made in connection with each active

       listing shared with prospective buyers in any format;

              v.          prohibit company owned brokerages and their agents (and recommend and

       encourage that any franchisees and their agents refrain) from utilizing any technology or

       taking manual actions to filter out or restrict listings that are searchable by and displayed to

       consumers based on the level of compensation offered to any cooperating broker unless

       directed to do so by the client (and eliminate any internal systems or technological processes

       that may currently facilitate such practices);

             vi.          advise and periodically remind company owned brokerages and their agents

       of their obligation to (and recommend and encourage that any franchisees and their agents)

       show properties regardless of the existence or amount of compensation offered to buyer

       brokers or other buyer representatives provided that each such property meets the buyer’s

       articulated purchasing priorities;

             vii.         for each of the above points, for company owned brokerages, franchisees, and

       their agents, develop training materials consistent with the above relief and eliminate any

       contrary training materials currently used.

       36.         If not automatically terminated earlier by their own terms, the obligations set forth in

the immediately preceding paragraph will sunset 5 years after the Effective Date.

       37.         Stipulating Party agrees to provide proof of compliance with these practice changes

if requested by Co-Lead Counsel.

G.     Cooperation

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        38.      Stipulating Party agrees to provide valuable cooperation to Plaintiffs as follows in the

Actions, including to the extent that any is consolidated pursuant to In re Real Estate Commission

Antitrust Litigation (MDL No. 3100):

                i.         use reasonable efforts to authenticate documents and/or things produced by it

        in the Actions where the facts indicate that the documents and/or things at issue are

        authentic, by declarations or affidavits if possible, or at hearings or trial if necessary;

               ii.         use reasonable efforts to provide the facts necessary to establish, where

        applicable, that documents and/or things produced by it in the Actions are “business

        records,” a present sense impression, an excited utterance, a recorded recollection, or are

        otherwise admissible under the Federal Rules of Evidence, by declarations or affidavits if

        possible, or at hearings or trial if necessary;

              iii.         agree that this Settlement Agreement shall not preclude Plaintiffs from

        seeking the production of non-privileged documents in its possession, custody, or control;

              iv.          if a defendant includes a witness on a witness list in the Actions who is then

        a current officer or employee of Stipulating Party, Stipulating Party will cooperate in

        providing access via counsel to that witness prior to trial testimony for up to two (2) hours;

               v.          withdraw any existing response before the Judicial Panel on Multidistrict

        Litigation with respect to In re Real Estate Commission Antitrust Litigation (MDL No.

        3100); and

              vi.          agree not to provide greater assistance in discovery or trial to any defendant

        or other non-Released Party in the Actions than to the Plaintiffs unless required by

        subpoena or other compulsory process.

        39.         Stipulating Party’s cooperation obligations, as set forth in Paragraph 38 of Appendix

C, shall not require the production of information, testimony, and/or documents that are protected

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from disclosure by the attorney-client privilege, work product doctrine, joint defense privilege, or any

other applicable privilege or doctrine.

        40.     Stipulating Party’s obligation to cooperate will not be affected by the releases set forth

in this Settlement Agreement or Appendix C or the final judgment orders with respect to the National

Association of REALTORS® or Stipulating Party.                Unless this Appendix C is rescinded,

disapproved, or otherwise fails to become Effective, the obligation to cooperate as set forth here will

continue until the date that final judgment has been entered in all of the Actions and the time for

appeal or to seek permission to appeal from the entry of a final judgment has expired or, if appealed,

any final judgment has been affirmed in its entirety by the court of last resort to which such appeal

has been taken and such affirmance is no longer subject to further appeal or review.

        41.     Stipulating Party acknowledges that the practice changes and cooperation set forth in

this Appendix C are a material component of Appendix C and agrees to use its reasonable best efforts

to provide them.

H.      The Settlement Fund

        42.     The Total Monetary Settlement Amount and any interest earned thereon shall be held

in the Escrow Account and constitute the “Settlement Fund.” The full and complete cost of the

settlement notice, claims administration, Settlement Class Members’ compensation, current and

former class representatives’ incentive awards, attorneys’ fees and reimbursement of all actual

expenses of the Actions, any other litigation costs of Plaintiffs (all as approved by the Court), and all

applicable taxes, if any, assessable on the Settlement Fund or any portion thereof, will be paid out of

the Settlement Fund. In no event will Stipulating Party’s monetary liability with respect to the

Settlement exceed the Total Monetary Settlement Amount.

        43.     The Settling Parties and their counsel will not have any responsibility, financial

obligation, or liability for any fees, costs, or expenses related to providing notice to the Settlement

                                                   16
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Class or administering the settlement except in Paragraphs 40 and 42 of Appendix C. Such fees,

costs, or expenses shall be paid solely from the Settlement Fund with Court approval. The balance

of the Settlement Fund shall be disbursed to Settlement Class Members as provided in a Plan of

Allocation (as defined below) approved by the Court. The Settling Parties shall have the right to

audit amounts paid from the Settlement Fund.

       44.     Subject to Co-Lead Counsel’s sole discretion as to timing, except that the timing must

be consistent with rules requiring that Settlement Class Members be given the opportunity to review

fee applications, Co-Lead Counsel may apply to the Court for a fee award, plus expenses, and costs

incurred, and current and former class representative service awards to be paid out of the Settlement

Fund. Within 14 business days after any order by the Court awarding attorneys’ fees, expenses, or

class representative incentive awards or such later date as directed by Co-Lead Counsel,, the escrow

agent for the Settlement Fund shall pay any approved attorneys’ fees, expenses, costs, and class

representative service award up to the amount specified in Paragraphs 22 or 23 of Appendix C for

such fees, expenses, costs, and class representative service award by wire transfer as directed by Co-

Lead Counsel in accordance with and attaching the Court’s Order, provided that each Co-Lead

Counsel receiving payment signs an assurance, in the form attached hereto as Appendix A, attesting

that they will repay all awarded amounts if this Settlement Agreement does not become Effective.

       45.     The Settlement Fund will be invested in United States Government Treasury

obligations or United States Treasury money market funds.

       46.     Stipulating Party will not have any responsibility, financial obligation, or liability

whatsoever with respect to the investment, distribution, use, or administration of the Settlement Fund,

including, but not limited to, the costs and expenses of such investment, distribution, use or

administration except as expressly otherwise provided in this Appendix C.




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       47.     There will be no reduction of the Total Monetary Settlement Amount based on Opt-

Out Sellers. The Settlement will be non-reversionary except as set forth below in Paragraphs 33-37

of Appendix C. If the Settlement becomes Effective, no proceeds from the Settlement will revert to

Stipulating Party regardless of the claims that are made.

       48.     No disbursements shall be made from the Settlement Fund prior to the Effective Date

of this Settlement Agreement except as described in this Appendix C.

       49.     The distribution of the Settlement Fund shall be administered pursuant to a plan of

allocation (the “Plan of Allocation”) proposed by Co-Lead Counsel in their sole and absolute

discretion and subject to the approval of the Court. Stipulating Party will have no participatory or

approval rights with respect to the Plan of Allocation. It is understood and agreed by the Settling

Parties that any proposed Plan of Allocation, including, but not limited to, any adjustments to an

authorized claimant’s claim, is completely independent of and is not a part of this Settlement

Agreement (including Appendix C) and is to be considered by the Court separately from the Court’s

consideration of the fairness, reasonableness, and adequacy of the Settlement. The Settlement Class,

Plaintiffs, and Stipulating Party shall be bound by the terms of the Settlement Agreement (including

Appendix C), irrespective of whether the Court or any other court, including on any appeal,

disapproves or modifies the Plan of Allocation, and any modification or rejection of the Plan of

Allocation shall not affect the validity or enforceability of this Settlement Agreement or otherwise

operate to terminate, modify, or cancel that Agreement.

       50.     The Releasing Parties will look solely to the Settlement Fund for settlement and

satisfaction against the Released Parties of all Released Claims and shall have no other recovery

against Stipulating Party or the Released Parties.




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I.     Taxes

       51.     Co-Lead Counsel is solely responsible for filing all informational and other tax returns

necessary to report any net taxable income earned by the Settlement Fund and shall file all

informational and other tax returns necessary to report any income earned by the Settlement Fund

and shall be solely responsible for taking out of the Settlement Fund, as and when legally required,

any tax payments, including interest and penalties due on income earned by the Settlement Fund. All

taxes (including any interest and penalties) due with respect to the income earned by the Settlement

Fund shall be paid from the Settlement Fund. Stipulating Party has no responsibility to make any

filings relating to the Settlement Fund and will have no responsibility to pay tax on any income

earned by the Settlement Fund or to pay any taxes on the Settlement Fund unless the Settlement does

not become Effective and the Settlement Fund is returned to Stipulating Party. In the event the

Settlement does not become Effective and any funds including interest or other income are returned

to Stipulating Party, Stipulating Party will be responsible for the payment of all taxes (including any

interest or penalties), if any, on said interest or other income.        Stipulating Party makes no

representations regarding, and will not be responsible for, the tax consequences of any payments

made pursuant to this Settlement to Co-Lead Counsel or to any Settlement Class Member.

J.     Rescission

       52.     If the Court does not certify the Settlement Class as defined in this Appendix C, or if

the Court does not approve this Appendix C in all material respects, or if such approval is modified

or set aside on appeal, or if the Court does not enter final approval, or if any judgment approving this

Appendix C is materially modified or set aside on appeal, or if all of the conditions for the Effective

Date do not occur, then this Appendix C may be rescinded by Stipulating Party or by Plaintiffs on

behalf of the Settlement Class by written notice to the Court and to counsel for the other Settling

Party filed and served within ten (10) business days of the entry of an order not granting court

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approval or having the effect of disapproving or materially modifying the terms of the Appendix C.

A modification or reversal on appeal of any amount of the Settlement Fund that the Court authorizes

to be used to pay Plaintiffs’ fees or litigation expenses shall not be deemed a modification of all or a

part of the terms of this Settlement or such final judgment order. The decision of certain Settlement

Class Members to opt out of the Settlement shall not be a basis for Stipulating Party to rescind or

terminate the Appendix C.

       53.       If Appendix C is rescinded for any reason, then the balance of the Total Monetary

Settlement Amount in the Settlement Fund will be returned to Stipulating Party.

       54.       Stipulating Party warrants and represents that it is not “insolvent” within the meaning

of applicable bankruptcy laws as of the time this Appendix C is executed. In the event of a final

order of a court of competent jurisdiction, not subject to any further proceedings, determining the

transfer of the Total Monetary Settlement Amount, or any portion thereof, by or on behalf of

Stipulating Party to be a preference, voidable transfer, fraudulent transfer or similar transaction under

Title 11 of the United States Code (Bankruptcy) or applicable state law and any portion thereof is

required to be refunded and such amount is not promptly deposited in the Escrow Account by or on

behalf of Stipulating Party, then, at the election of Co-Lead Counsel, the Settlement Agreement may

be terminated and the releases given and the judgment entered pursuant to the Settlement shall be

null and void.

       55.       The Settling Parties’ rights to terminate this Settlement and withdraw from Appendix

C are a material term of this Settlement.

       56.       Stipulating Party reserves all of its legal rights and defenses with respect to any claims

brought by potential Opt-Out Sellers.

K.     Miscellaneous

       57.       This Appendix C and any actions taken to carry out the Settlement are not intended

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to be, nor may they be deemed or construed to be, an admission or concession of liability, or of the

validity of any claim, defense, or point of fact or law on the part of any party. Stipulating Party

denies the material allegations of the complaints in the Actions and in the other cases in In re Real

Estate Commission Antitrust Litigation (MDL No. 3100). Neither this Appendix C, nor the fact of

Settlement, nor settlement proceedings, nor the settlement negotiations, nor any related document,

shall be used as an admission of any fault or omission by Stipulating Party, or be offered in evidence

as an admission, concession, presumption, or inference of any wrongdoing by Stipulating Party in

any proceeding.

       58.     The terms of Appendix C are and shall be binding upon and inure to the benefit of, to

the fullest extent possible, each of Plaintiffs and Stipulating Party, and upon all other Persons

claiming any interest in the subject matter hereto through any of the Settling Parties, Releasing

Parties, Released Parties, and any Settlement Class Members.

       59.     Any disputes between Stipulating Party and Co-Lead Counsel concerning this

Appendix C shall, if they cannot be resolved, be presented first to an agreed mediator for assistance

in mediating a resolution and, if a resolution is not reached, to the Court.

       60.     The provisions of this Appendix C shall, where possible, be interpreted in a manner

to sustain their legality and enforceability.

       61.     Any disputes relating to this Appendix C will be governed by Missouri law without

regard to conflicts of law provisions.

       62.     The Court shall retain jurisdiction over the implementation and enforcement of this

Settlement Agreement and Appendix C.

       63.     This Settlement Agreement and Appendix C constitute the entire agreement among

Plaintiffs and Stipulating Party pertaining to the Settlement of any claims or potential claims against

Stipulating Party. This Appendix C may be modified or amended only by a writing executed by

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Plaintiffs and Stipulating Party.

       64.     Stipulating Party acknowledges that it has been and is being fully advised by

competent legal counsel of Stipulating Party’s own choice and fully understands the terms and

conditions of this Settlement Agreement, including Appendix C, and the meaning and import thereof,

and that such Stipulating Party’s execution of this Appendix C is with the advice of such Stipulating

Party’s counsel and of such Stipulating Party’s own free will. Stipulating Party submits to the

exclusive jurisdiction of the Court for the purposes of interpreting and enforcing the terms of

Appendix C, including but not limited to, the practice changes contained therein. Stipulating Party

represents and warrants that it has sufficient information regarding the transaction and the other

parties to reach an informed decision and has, independently and without relying upon the other

parties, and based on such information as it has deemed appropriate, made its own decision to enter

into this Settlement Agreement, including Appendix C, and was not fraudulently or otherwise

wrongfully induced to enter into this Appendix C.

       65.     Each of the undersigned attorneys represents that he or she is fully authorized to enter

into the terms and conditions of, and to execute, this Appendix C.




Date: ____ day of ________________, 2024




____________________________

On behalf of __________________



ON BEHALF OF CO-LEAD COUNSEL


____________________________
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Cohen Milstein Sellers & Toll PLLC




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           APPENDIX D – NON-REALTOR® MLS “OPT IN” AGREEMENT

                       UNITED STATES DISTRICT COURT
               WESTERN DISTRICT OF MISSOURI WESTERN DIVISION

RHONDA BURNETT, JEROD BREIT, HOLLEE ELLIS,
FRANCES HARVEY, and JEREMY KEEL, on behalf of
themselves and all others similarly situated,

                Plaintiffs,

      v.
                                                             Case No. 19-cv-00332-SRB
THE NATIONAL ASSOCIATION OF REALTORS®,
REALOGY HOLDINGS CORP., HOMESERVICES OF
AMERICA, INC., BHH AFFILIATES, LLC, HSF
AFFILIATES, LLC, RE/MAX LLC, and NATIONAL
ASSOCIATION OF REALTORS® REALTY, INC.,

                Defendants.



                      UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

CHRISTOPHER MOEHRL, MICHAEL COLE, STEVE
DARNELL, JACK RAMEY, DANIEL UMPA and JANE RUH
on behalf of themselves and all others similarly situated,

                Plaintiffs,

      v.
                                                             Case No. 1:19-cv-01610-ARW
THE NATIONAL ASSOCIATION OF REALTORS®,
REALOGY HOLDINGS CORP., HOMESERVICES OF
AMERICA, INC., BHH AFFILIATES, LLC, HSF
AFFILIATES, LLC, THE LONG & FOSTER COMPANIES,
INC., RE/MAX LLC, and KELLER WILLIAMS REALTY,
INC.,

                Defendants.




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       WHEREAS, some plaintiffs have alleged that certain MLSs participated in a conspiracy to

raise, fix, maintain, or stabilize real estate commissions in violation of Section 1 of the Sherman Act

and corresponding state laws;

       WHEREAS, Stipulating MLS denies Plaintiffs’ allegations in the Actions;

       WHEREAS, Plaintiffs have conducted an extensive investigation into the facts and the law

regarding the claims and allegations asserted in the Actions, including more than four years of fact

and expert discovery, and have concluded that a settlement according to the terms set forth below is

fair, reasonable, and adequate and in the best interest of Plaintiffs and the Settlement Class;

       WHEREAS, Stipulating MLS believes that it is not liable for the claims and allegations

asserted and has good defenses, but nevertheless has decided to enter into this Settlement Agreement

to avoid further expense, inconvenience, and the distraction of burdensome and protracted litigation,

to obtain the nationwide releases, orders, and judgment contemplated by this Settlement Agreement,

and to put to rest with finality all claims and allegations that Plaintiffs and Settlement Class Members

have or could have asserted against the Stipulating MLS; and

       WHEREAS, Stipulating MLS, has agreed to cooperate with Plaintiffs and to implement

certain practice changes, each as set forth in the Settlement Agreement and Appendix D.

       NOW, THEREFORE, in consideration of the agreements and releases set forth in the

Settlement Agreement and Appendix D and other good and valuable consideration, and intending to

be legally bound, it is agreed by and between ____________________________________

(“Stipulating MLS”) and the Plaintiffs that the Actions be settled, compromised, and dismissed with

prejudice as to Stipulating MLS only, without costs to Plaintiffs, the Settlement Class or Stipulating

MLS except as provided for herein, subject to the approval of the Court, on the following terms and

conditions:

A.     Definitions

                                                   1
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       Stipulating MLS agrees that the terms reflected in this Appendix D shall have the same

meaning as those defined in the Settlement Agreement, unless otherwise specified. The following

terms, as used in this Appendix D only, have the following meanings:

       1.      “Burnett” means the case pending in the United States District Court for the Western

District of Missouri Case No. 4:19-cv-00332-SRB, which is currently pending.

       2.      “Burnett MLSs” means the multiple listing services at issue in Burnett.

       3.      “Co-Lead Counsel” means the following law firms:

               KETCHMARK AND MCCREIGHT P.C.
               11161 Overbrook Road, Suite 210
               Leawood, KS 66211

               BOULWARE LAW LLC
               1600 Genessee, Suite 416
               Kansas City, MO 64102

               WILLIAMS DIRKS DAMERON LLC
               1100 Main Street, Suite 2600
               Kansas City, MO 64105

               HAGENS BERMAN SOBOL SHAPIRO LLP
               1301 Second Avenue, Suite 2000
               Seattle, WA 98101

               COHEN MILSTEIN SELLERS & TOLL PLLC
               1100 New York Ave. NW, Fifth Floor
               Washington, DC 20005

               SUSMAN GODFREY L.L.P.
               1900 Avenue of the Stars, Suite 1400
               Los Angeles, CA 90067

       4.      “Court” means the United States District Court for the Western District of Missouri.

       5.      “Effective” means that all conditions set forth below in the definition of “Effective

Date” have occurred.

       6.      “Effective Date” means the date when both: (a) the Court has entered a final judgment

order approving the Settlement set forth in this Settlement Agreement under Rule 23(e) of the Federal

                                                 2
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Rules of Civil Procedure and a final judgment dismissing the Actions against the National

Association of REALTORS® with prejudice has been entered; and (b) the time for appeal or to seek

permission to appeal from the Court’s approval of the Settlement and the entry of a final judgment

has expired or, if appealed, approval of the Settlement and the final judgment have been affirmed in

their entirety by the court of last resort to which such appeal has been taken and such affirmance is

no longer subject to further appeal or review; excluding, however, any appeal or other proceedings

unrelated to this Settlement initiated by any Non-National Association of REALTORS® Defendant,

and any such appeal or other proceedings shall not delay the Settlement from becoming final and

shall not apply to this Paragraph; nor shall this Paragraph be construed as an admission that such

parties have standing or other rights of objection or appeal with respect to this Settlement. It is agreed

that neither the provisions of Federal Rule of Civil Procedure 60 nor the All Writs Act, 28 U.S.C.

§ 1651, shall be considered in determining the above-stated times.

       7.      “Moehrl” means the case pending in the Northern District of Illinois Case No. 1:19-

cv-01610-ARW, which is currently pending.

       8.      “Moehrl MLSs” means the multiple listing services named in Moehrl.

       9.      “MLS PIN” means the multiple listing service at issue in United States District Court

for the District of Massachusetts Case No. I :20-cv-12244-PBS, which is currently pending.

       10.     “Opt-Outs” means members of the Settlement Class who have timely exercised their

rights to be excluded from the Settlement Class or have otherwise obtained Court approval to exercise

such rights.

       11.     “Person” means an individual, corporation, partnership, limited partnership,

association, joint stock company, estate, legal representative, trust, unincorporated association,

government or any political subdivision or agency thereof, any business or legal entity, and such




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individual’s or entity’s spouse, heirs, predecessors, successors, representatives, affiliates, and

assignees.

        12.     “Released Claims” means any and all manner of claims, regardless of the cause of

action, arising from or relating to conduct that was alleged or could have been alleged in the Actions

based on any or all of the same factual predicates for the claims alleged in the Actions, including but

not limited to commissions negotiated, offered, obtained, rebated, or paid to brokerages in connection

with the sale of any residential home.

        13.     “Released Parties” for purposes of this Appendix D means Stipulating MLS and its

past and present, direct and indirect, subsidiaries, predecessors, successors (all as defined in SEC

rule 12b-2 promulgated pursuant to the Securities Exchange Act of 1934), officers, directors,

managing directors, employees, agents, contractors, independent contractors, attorneys, legal or other

representatives, accountants, auditors, experts, trustees, trusts, heirs, beneficiaries, estates, executors,

administrators, insurers, and assigns. However, “Released Parties” shall not include any Person who

is excluded from being a released party under Paragraphs 18(g) or (h) of the Settlement Agreement.

        14.     “Releasing Parties” means Plaintiffs and any Settlement Class Members (including

any of their immediate family members, heirs, representatives, administrators, executors, devisees,

legatees, and estates, acting in their capacity as such; and for entities including any of their past,

present or future officers, directors, insurers, general or limited partners, divisions, stockholders,

agents, attorneys, employees, legal representatives, trustees, parents, associates, affiliates, joint

ventures, subsidiaries, heirs, executors, administrators, predecessors, successors and assigns, acting

in their capacity as such solely with respect to the claims based on or derived from claims of the

Plaintiffs or Settlement Class Members).

        15.     “Settlement” means the settlement of the Actions contemplated by this Settlement

Agreement.

                                                     4
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       16.     “Settlement Class” means the class of persons that will be certified by the Court for

settlement purposes only, namely, all persons who sold a home that was listed on a multiple listing

service anywhere in the United States where a commission was paid to any brokerage in connection

with the sale of the home in the following date ranges:

                      Homes listed on Moehrl MLSs: March 6, 2015 to date of Class Notice;

                      Homes listed on Burnett MLSs: April 29, 2014 to date of Class Notice;

                      Homes listed on MLS PIN: December 17, 2016 to date of Class Notice;

                      Homes in Arkansas, Kentucky, and Missouri, but not on the Moehrl MLSs,

       the Burnett MLSs, or MLS PIN: October 31, 2018 to date of Class Notice;

                      Homes in Alabama, Georgia, Indiana, Maine, Michigan, Minnesota, New

       Jersey, Pennsylvania, Tennessee, Vermont, Wisconsin, and Wyoming, but not on the Moehrl

       MLSs, the Burnett MLSs, or MLS PIN: October 31, 2017 to date of Class Notice;

                      For all other homes: October 31, 2019 to date of Class Notice.

For avoidance of doubt, Plaintiffs and National Association of REALTORS® intend this Settlement

Agreement to provide for a nationwide class with a nationwide settlement and release.

       17.     “Settlement Class Member” means a member of the Settlement Class who does not

file a valid request for exclusion from the Settlement Class.

       18.     “Settling Parties” means Plaintiffs and Stipulating MLS.

B.     Operation of the Settlement

       19.     Stipulating MLS represents that neither it nor its past or present, direct or indirect

parents (including holding companies), subsidiaries, affiliates, associates (all as defined in SEC rule

12b-2 promulgated pursuant to the Securities Exchange Act of 1934), predecessors, successors,

franchisors, or franchisees is a defendant in the Actions, as that term is defined in the Settlement

Agreement. This representation is a material component of Appendix D and Stipulating MLS’s

                                                  5
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inclusion as a Released Party.

       20.     Settling Parties agree that, as a condition precedent for this Appendix D to become

effective, Stipulating MLS must deliver to the below email address within 60 days of the filing of

the first motion for preliminary approval of the Settlement Agreement each of the following: (i) an

executed version of this Appendix D; and (ii) an indication of whether Stipulating MLS selects either

“Option 1” or “Option 2” as defined in this Appendix D:

              (1) realtorsoptin@jndla.com, (2) realtorsoptin@cohenmilstein.com, and

                                  (3) nargovernance@nar.realtor

       21.     As a condition for being a Released Party, Stipulating MLS agrees to be bound by this

Appendix D, including the practice changes and cooperation terms reflected in Paragraphs 35-36 of

Appendix D.

       22.     Option 1: Plaintiffs will open a special interest-bearing settlement escrow account or

accounts, established for that purpose as a qualified settlement fund as defined in Section 1.468B-

1(a) of the U.S. Treasury Regulations (the “Escrow Account”). Within 120 days following

preliminary approval of the settlement by the Court, Stipulating MLS will deposit into the Escrow

Account a dollar amount equal to 100 multiplied by the number of its subscribers in calendar year

2023. The “2023 Subscribers” reflected in the T360 Real Estate Almanac (2023) shall serve as an

irrebuttable presumption of that Stipulating MLS’s number of subscribers in calendar year 2023.

       23.     Option 2: Alternatively, to the extent Stipulating MLS has a good faith belief that it

lacks the ability to pay the amount required under Option 1, Stipulating MLS agrees to participate

in a non-binding mediation with Co-Lead Counsel to occur within 110 days following preliminary

approval of the Settlement by the Court. That mediation will occur before Greg Lindstrom, of

Phillips ADR Enterprises, P.C. or another mediator jointly selected by the parties to Appendix D.

The costs of the mediation shall be borne entirely by Stipulating MLS. Plaintiffs and Stipulating

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MLS agree to maintain the confidentiality of all settlement discussions and materials exchanged

during the settlement negotiation, including the mediation. If, following the non-binding mediation

described herein, Stipulating MLS and Co-Lead Counsel are unable to reach agreement on a

settlement within 130 days following preliminary approval of the Settlement Agreement by the

Court, Stipulating MLS shall not become a “Released Party” under the Settlement Agreement

(including this Appendix D) and any further rights or obligations under the Settlement Agreement

(including this Appendix D) of Stipulating MLS, Plaintiffs, Co-Lead Counsel, or the Settlement

Class to one another shall terminate.

C.     Stipulation to Class Certification

       24.     The Settling Parties hereby stipulate for purposes of this settlement only that the

requirements of Federal Rules of Civil Procedure 23(a), 23(b)(2), and 23(b)(3) are satisfied and,

subject to Court approval, the Settlement Class shall be certified for settlement purposes as to

Stipulating MLS. The Settling Parties stipulate and agree to the conditional certification of the

Settlement Class for purposes of this Settlement only. Should, for whatever reason, the Settlement

not become Effective, the Settling Parties’ stipulation to class certification as part of the Settlement

shall become null and void.

       25.     Neither the Settlement, Appendix D, or Settlement Agreement, nor any statement,

transaction, or proceeding in connection with the negotiation, execution, or implementation of this

Settlement, Appendix D, or Settlement Agreement should be intended to be, construed as, or deemed

to be evidence of an admission or concession by Stipulating MLS that a class should be or should

have been certified for any purposes other than settlement, and none of them shall be admissible in

evidence for any such purpose in any proceeding.

D.     Approval of this Appendix D and Dismissal of the Actions




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       26.     The Settling Parties agree to make reasonable best efforts to effectuate this Settlement

Agreement (including Appendix D), including, but not limited to, seeking the Court’s approval of

procedures (including the giving of class notice under Federal Rules of Civil Procedure 23(c) and

(e)); scheduling a final fairness hearing to obtain final approval of the settlement and the final

dismissal with prejudice of the Actions as to Stipulating MLS; and Stipulating MLS cooperation by

providing information reflecting its ability to pay limitations.

       27.     Plaintiffs will submit to the Court a motion requesting that the Court preliminarily

approve the settlement reflected in Appendix D (the “Motion”). The Motion may be separate from

and be filed at a different time than the preliminary approval motion provided in connection with the

other class relief afforded in the Settlement Agreement by the National Association of

REALTORS®. The Motion shall include a proposed form of order preliminarily approving the

settlement and enjoining Releasing Parties from prosecuting any Released Claims in any forum until

the Effective Date of this settlement reflected in Appendix D. Stipulating MLS shall not have any

right or opportunity to review the Motion. The Settling Parties shall take all reasonable actions as

may be necessary to obtain preliminary approval of the settlement reflected in Appendix D. To the

extent the Court finds that the settlement does not meet the standard for preliminary approval, the

Settling Parties will negotiate in good faith to modify Appendix D directly or with the assistance of

an agreed mediator and will endeavor to resolve any issues to the satisfaction of the Court.

       28.     Subject to approval by the Court, Plaintiffs will undertake a method of providing

notice of this settlement to the Settlement Class and for claim administration that meets the

requirements of due process and Federal Rule of Civil Procedure 23 and is substantially similar to

the forms of notice already agreed-to and approved by the Court in the previous settlements with

Anywhere, RE/MAX, and Keller Williams. Class members who file a claim under the Anywhere,

RE/MAX and Keller Williams settlements will be deemed to also make a claim against this

                                                   8
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Settlement unless they affirmatively state they are not claiming this Settlement. The Settling Parties

agree to the use of the claims administrator previously selected to administer the Anywhere,

RE/MAX, and Keller Williams settlements and approved by the Court. The timing of any request to

disseminate notice to the Settlement Class will be at the discretion of Co-Lead Counsel and may

occur separately from and at a different time than the class notice provided in connection with the

class relief afforded in the Settlement Agreement by the National Association of REALTORS®.

       29.     Within ten (10) calendar days after the filing with the Court of this Appendix D and

the accompanying motion papers seeking its preliminary approval, the claims administrator shall at

Stipulating MLS’s expense to be credited against the Total Monetary Settlement Amount cause

notice of the Settlement Agreement to be served upon appropriate State and Federal officials as

provided in the Class Action Fairness Act, 28 U.S.C. § 1715.

       30.     If the Settlement is preliminarily approved by the Court, Plaintiffs shall timely seek

final approval of the Settlement and entry of a final judgment order as to Stipulating MLS:

               (a) certifying the Settlement Class under Federal Rule of Civil Procedure 23(b), solely

       for purposes of this Settlement;

               (b) granting final approval of the Settlement as fair, reasonable, and adequate within

       the meaning of Federal Rules of Civil Procedure 23(e) and directing the consummation of the

       Settlement according to its terms;

               (c) enjoining the Stipulating MLS in accordance with the provisions of Paragraph 35

       of Appendix D.

               (d) directing that, as to Stipulating MLS only, the Actions be dismissed with prejudice

       and, except as provided for herein, without costs;




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               (e) reserving exclusive jurisdiction over the Settlement and this Appendix D,

        including reserving exclusive jurisdiction over the administration and consummation of this

        Settlement to the Court; and

               (f) determining under Federal Rule of Civil Procedure 54(b) that there is no just reason

        for delay and directing entry of final judgment as to Stipulating MLS.

        31.    This Appendix D will become Effective only after the occurrence of all conditions set

forth above in the definition of the Effective Date.

E.      Releases, Discharge, and Covenant Not to Sue

        32.    Upon the occurrence of the Effective Date, the Releasing Parties expressly and

irrevocably waive, and fully, finally, and forever settle, discharge, and release the Released Parties

from, any and all manner of claims, demands, actions, suits, and causes of action, whether individual,

class, representative, or otherwise in nature, for damages, restitution, disgorgement, interest, costs,

expenses, attorneys’ fees, fines, civil or other penalties, or other payment of money, or for injunctive,

declaratory, or other equitable relief, whenever incurred, whether directly, indirectly, derivatively,

or otherwise, whether known or unknown, suspected or unsuspected, in law or in equity, that any

Releasing Party ever had, now has, or hereafter can, shall, or may have and that have accrued as of

the date of preliminary approval of the Settlement arising from or related to the Released Claims.

The Released Claims include but are not limited to the antitrust and consumer protection claims

brought in the Actions and similar state and federal statutes. In connection therewith, upon the

Effective Date of Settlement, each of the Releasing Parties (i) shall forever be enjoined from

prosecuting in any forum any Released Claims against any of the Released Parties that accrued from

the beginning of time through the date of preliminary approval of the Settlement; and (ii) agrees and

covenants not to sue any of the Released Parties with respect to any Released Claims. For avoidance

of doubt, this release extends to, but only to, the fullest extent permitted by law.

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       33.     The Releasing Parties may hereafter discover facts other than or different from those

which they now know or believe to be true with respect to the subject matter of the Released Claims.

Nevertheless, the Releasing Parties expressly, fully, finally, and forever settle and release, and, upon

the Effective Date, shall be deemed to have, and by operation of the Final Judgment and Order of

Dismissal shall have, fully, finally, and forever settled and released, any and all Released Claims,

without regard to the subsequent discovery or existence of such other, different, or additional facts,

as well as any and all rights and benefits existing under (i) Cal. Civ. Code Section 1542, which

provides as follows:

                       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS

                       THAT THE CREDITOR OR RELEASING PARTY DOES

                       NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER

                       FAVOR AT THE TIME OF EXECUTING THE RELEASE

                       AND THAT, IF KNOWN BY HIM OR HER, WOULD

                       HAVE      MATERIALLY            AFFECTED      HIS    OR     HER

                       SETTLEMENT WITH THE DEBTOR OR RELEASED

                       PARTY.

or any equivalent, similar or comparable present or future law or principle of law of any jurisdiction,

including but not limited to Section 20-7-11 of the South Dakota Codified Laws, which provides that

“A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE CREDITOR DOES

NOT KNOW OR SUSPECT TO EXIST IN HIS FAVOR AT THE TIME OF EXECUTING THE

RELEASE, WHICH IF KNOWN BY HIM MUST HAVE MATERIALLY AFFECTED HIS

SETTLEMENT WITH THE DEBTOR;” or (ii) any law or principle of law of any jurisdiction that

would limit or restrict the effect or scope of the provisions of the release set forth above, without

regard to the subsequent discovery or existence of such other, different, or additional facts. The

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Releasing Parties acknowledge that the inclusion of unknown claims in the definition of Released

Claims was separately bargained for and was a material element of the Settlement Agreement.

        34.     The Releasing Parties intend by this Appendix D to settle with and release only the

Released Parties, and the Settling Parties do not intend this Appendix D, or any part hereof, or any

other aspect of the proposed settlement or release, to release or otherwise affect in any way any

claims concerning product liability, breach of warranty, breach of contract or tort of any kind (other

than a breach of contract or tort based on any factual predicate in the Actions), a claim arising out of

violation of the Uniform Commercial Code, or personal or bodily injury. The release does not extend

to any individual claims that a class member may have against his or her own broker or agent based

on a breach of contract, breach of fiduciary duty, malpractice, negligence or other tort claim, other

than a claim that a class member paid an excessive commission or home price due to the claims at

issue in the Actions.

F.      Practice Changes

        35.     Stipulating MLS agrees that, as soon as practicable, and in no event later than 150

days after the filing of the first motion for preliminary approval of the Settlement Agreement, each

Stipulating MLS will implement the following practice changes:

               i.       eliminate any requirement by the MLS that listing brokers or sellers must

        make offers of compensation to buyer brokers or other buyer representatives (either directly

        or through buyers), and eliminate any requirement that such offers, if made, must be blanket,

        unconditional, or unilateral;

              ii.       prohibit the MLS Participants, subscribers, other real estate brokers, other real

        estate agents, and sellers from (a) making offers of compensation on the multiple listing

        service to cooperating brokers or other buyer representatives (either directly or through

        buyers); or (b) disclosing on the multiple listing service listing broker compensation or total

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   brokerage compensation (i.e., the combined compensation to both listing brokers and

   cooperating brokers);

       iii.         eliminate all broker compensation fields on the MLS, and prohibit the sharing

   of offers of compensation to buyer brokers or other buyer representatives via any other fields

   on the MLS;

        iv.         eliminate and prohibit any requirements conditioning multiple listing service

   participation or membership in an MLS on offering or accepting compensation to buyer

   brokers or other buyer representatives;

        v.          agree not to create, facilitate, or support any non-MLS mechanism (including

   by providing listing information to an internet aggregators’ website for such purpose) for

   listing brokers or sellers to make offers of compensation to buyer brokers or other buyer

   representatives (either directly or through buyers), however, this provision is not violated by

   (a) an MLS providing data or data feeds to a REALTOR®, MLS Participant, or third party

   unless the MLS knows those data or data feeds are being used directly or indirectly to

   establish or maintain a platform for offers of compensation from multiple brokers (i.e., the

   MLS cannot intentionally circumvent this requirement); or (b) a REALTOR® or MLS

   Participant displaying both (1) data or data feeds from an MLS and (2) offers of compensation

   to buyer brokers or other buyer representatives but only on listings from their own brokerage;

        vi.         unless inconsistent with state or federal law or regulation before or during the

   operation of this Paragraph 35(vi) of Appendix D, require that all MLS Participants working

   with a buyer enter into a written agreement before the buyer tours any home with the

   following:

                    a.     to the extent that such a Participant will receive compensation from

             any source, the agreement must specify and conspicuously disclose the amount or rate

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          of compensation it will receive or how this amount will be determined;

                   b.     the amount of compensation reflected must be objectively

          ascertainable and may not be open-ended (e.g., “buyer broker compensation shall be

          whatever amount the seller is offering to the buyer”); and

                   c.     such a Participant may not receive compensation for brokerage

          services from any source that exceeds the amount or rate agreed to in the agreement

          with the buyer;

       vii.        prohibit Participants, subscribers, and other real estate brokers and agents

   accessing the multiple listing service from representing to a client or customer that their

   brokerage services are free or available at no cost to their clients, unless they will receive no

   financial compensation from any source for those services;

      viii.        require MLS Participants acting for sellers to conspicuously disclose to sellers

   and obtain seller approval for any payment or offer of payment that the listing broker or seller

   will make to another broker, agent, or other representative (e.g., a real estate attorney) acting

   for buyers; and such disclosure must be in writing, provided in advance of any payment or

   agreement to pay to another broker acting for buyers, and specify the amount or rate of any

   such payment;

        ix.        require MLS Participants to disclose to prospective sellers and buyers in

   conspicuous language that broker commissions are not set by law and are fully negotiable (i)

   in their listing agreement if it is not a government-specified form, (ii) in their agreement with

   buyers if it is not a government-specified form, and (iii) in pre-closing disclosure documents

   if there are any and they are not government-specified forms. In the event that the listing

   agreement, buyer representation agreement, or pre-closing disclosure documents are a

   government form, then MLS participants must include a disclosure with conspicuous

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        language expressly stating that broker commissions are not set by law and are fully

        negotiable;

                x.          to the extent that the multiple listing services publishes form listing

        agreements, buyer representation agreements, or pre-closing disclosure documents for use by

        REALTORS®, participants, and/or subscribers, ensure that those forms include language

        disclosing to prospective sellers and buyers in conspicuous language that broker commissions

        are not set by law and are fully negotiable;

               xi.          require that MLS participants and subscribers must not filter out or restrict

        MLS listings communicated to their customers or clients based on the existence or level of

        compensation offered to the broker assisting the buyer;

              xii.          rescind or modify any existing rules that are inconsistent with the practice

        changes reflected in this Paragraph 35 of Appendix D; and

              xiii.         develop educational materials that reflect and are consistent with each

        provision in these practice changes, and eliminate educational materials, if any, that are

        contrary to it.

              xiv.          the practice changes in the Paragraph 35 of Appendix D shall not prevent (a)

        offers of compensation to buyer brokers or other buyer representatives off of the multiple

        listing service or (b) sellers from offering buyer concessions on an MLS (e.g., for buyer

        closing costs), so long as such concessions are not limited to or conditioned on the retention

        of or payment to a cooperating broker, buyer broker, or other buyer representative.

        36.          Stipulating MLS agrees to provide proof of compliance with these practice changes

if requested by Co-Lead Counsel.

G.      Cooperation




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       37.     Stipulating MLS will provide valuable cooperation to Plaintiffs and Settlement Class

Member as follows in the Actions, including to the extent that any is consolidated pursuant to In re

Real Estate Commission Antitrust Litigation (MDL No. 3100):

         i.    use reasonable efforts to authenticate documents and/or things produced by it in the

               Actions where the facts indicate that the documents and/or things at issue are

               authentic, by declarations or affidavits if possible, or at hearings or trial if necessary;

                     ii.       use reasonable efforts to provide the facts necessary to establish, where

               applicable, that documents and/or things produced by it in the Actions are “business

               records,” a present sense impression, an excited utterance, a recorded recollection, or

               are otherwise admissible under the Federal Rules of Evidence, by declarations or

               affidavits if possible, or at hearings or trial if necessary;

                    iii.       use reasonable efforts at their expense to provide relevant class

               member and listing data and answer questions about that data to support the provision

               of class notice, administration of any settlements, or the litigation of the Actions;

                    iv.        stipulate that Plaintiffs have the consent to obtain from third parties

               relevant class member and listing data to support the provision of class notice,

               administration of any settlements, or the litigation of the Actions;

                     v.        agree that Plaintiffs may use in the remaining Actions any discovery

               materials provided by it or its officers or employees in Moehrl or Burnett;

                    vi.        agree that this Settlement Agreement shall not preclude Plaintiffs from

               seeking the production of non-privileged documents in its possession, custody, or

               control;

                   vii.        if a Defendant includes a witness on a witness list in the Actions who

               is then a current officer or employee of the multiple listing service, the multiple listing

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                service will cooperate in providing access via counsel to that witness prior to trial

                testimony for up to two (2) hours;

                    viii.      withdraw any existing response before the Judicial Panel on

                Multidistrict Litigation with respect to In re Real Estate Commission Antitrust

                Litigation (MDL No. 3100); and

                     ix.       agree not to provide greater assistance in discovery or trial to any

                defendant or other non-Released Party in the Actions than to the Plaintiffs unless

                required by subpoena or other compulsory process.

        38.     Stipulating MLS’s cooperation obligations, as set forth in Paragraph 37 of Appendix

D, shall not require the production of information, testimony, and/or documents that are protected

from disclosure by the attorney-client privilege, work product doctrine, joint defense privilege, or any

other applicable privilege or doctrine.

        39.     Stipulating MLS’s obligation to cooperate will not be affected by the releases set forth

in this Settlement Agreement or Appendix D or the final judgment orders with respect to National

Association of REALTORS® or Stipulating Party.               Unless this Appendix D is rescinded,

disapproved, or otherwise fails to become Effective, the obligation to cooperate as set forth here will

continue until the date that final judgment has been entered in all of the Actions and the time for

appeal or to seek permission to appeal from the entry of a final judgment has expired or, if appealed,

any final judgment has been affirmed in its entirety by the court of last resort to which such appeal

has been taken and such affirmance is no longer subject to further appeal or review.

        40.     Stipulating MLS acknowledges that the practice changes and cooperation set forth in

this Appendix D are a material component of Appendix D and agrees to use its reasonable best efforts

to provide them.

H.      The Settlement Fund

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       41.     The Total Monetary Settlement Amount and any interest earned thereon shall be held

in the Escrow Account and constitute the “Settlement Fund.” The full and complete cost of the

settlement notice, claims administration, Settlement Class Members’ compensation, current and

former class representatives’ incentive awards, attorneys’ fees and reimbursement of all actual

expenses of the Actions, any other litigation costs of Plaintiffs (all as approved by the Court), and all

applicable taxes, if any, assessable on the Settlement Fund or any portion thereof, will be paid out of

the Settlement Fund. In no event will Stipulating MLS’s monetary liability with respect to the

Settlement exceed the Total Monetary Settlement Amount.

       42.     The Settling Parties and their counsel will not have any responsibility, financial

obligation, or liability for any fees, costs, or expenses related to providing notice to the Settlement

Class or administering the settlement except in this Appendix D. Such fees, costs, or expenses shall

be paid solely from the Settlement Fund with Court approval. The balance of the Settlement Fund

shall be disbursed to Settlement Class Members as provided in a Plan of Allocation (as defined

below) approved by the Court. The Settling Parties shall have the right to audit amounts paid from

the Settlement Fund.

       43.     Subject to Co-Lead Counsel’s sole discretion as to timing, except that the timing must

be consistent with rules requiring that Settlement Class Members be given the opportunity to review

fee applications, Co-Lead Counsel may apply to the Court for a fee award, plus expenses, and costs

incurred, and current and former class representative service awards to be paid out of the Settlement

Fund. Within 14 business days after any order by the Court awarding attorneys’ fees, expenses, or

class representative incentive awards or such later date as directed by Co-Lead Counsel, the escrow

agent for the Settlement Fund shall pay any approved attorneys’ fees, expenses, costs, and class

representative service award up to the amount specified in Paragraphs 22 or 23 of Appendix D for

such fees, expenses, costs, and class representative service award by wire transfer as directed by Co-

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Lead Counsel in accordance with and attaching the Court’s Order, provided that each Co-Lead

Counsel receiving payment signs an assurance, in the form attached hereto as Appendix A, attesting

that they will repay all awarded amounts if this Settlement Agreement does not become Effective.

       44.     The Settlement Fund will be invested in United States Government Treasury

obligations or United States Treasury money market funds.

       45.     Stipulating MLS will not have any responsibility, financial obligation, or liability

whatsoever with respect to the investment, distribution, use, or administration of the Settlement Fund,

including, but not limited to, the costs and expenses of such investment, distribution, use or

administration except as expressly otherwise provided in this Appendix D.

       46.     There will be no reduction of the Total Monetary Settlement Amount based on Opt-

Out Sellers. The Settlement will be non-reversionary except as set forth below in Paragraphs 51 of

Appendix D. If the Settlement becomes Effective, no proceeds from the Settlement will revert to

Stipulating MLS regardless of the claims that are made.

       47.     No disbursements shall be made from the Settlement Fund prior to the Effective Date

of this Settlement Agreement except as described in this Appendix D.

       48.     The distribution of the Settlement Fund shall be administered pursuant to a plan of

allocation (the “Plan of Allocation”) proposed by Co-Lead Counsel in their sole and absolute

discretion and subject to the approval of the Court. Stipulating MLS will have no participatory or

approval rights with respect to the Plan of Allocation. It is understood and agreed by the Settling

Parties that any proposed Plan of Allocation, including, but not limited to, any adjustments to an

authorized claimant’s claim, is completely independent of and is not a part of this Settlement

Agreement (including Appendix D) and is to be considered by the Court separately from the Court’s

consideration of the fairness, reasonableness, and adequacy of the Settlement. The Settlement Class,

Plaintiffs, and Stipulating MLS shall be bound by the terms of the Settlement Agreement (including

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Appendix D), irrespective of whether the Court or any other court, including on any appeal,

disapproves or modifies the Plan of Allocation, and any modification or rejection of the Plan of

Allocation shall not affect the validity or enforceability of this Settlement Agreement or otherwise

operate to terminate, modify, or cancel that Agreement.

        49.     The Releasing Parties will look solely to the Settlement Fund for settlement and

satisfaction against the Released Parties of all Released Claims and shall have no other recovery

against Stipulating MLS or the Released Parties.

I.      Taxes

        50.     Co-Lead Counsel is solely responsible for filing all informational and other tax returns

necessary to report any net taxable income earned by the Settlement Fund and shall file all

informational and other tax returns necessary to report any income earned by the Settlement Fund

and shall be solely responsible for taking out of the Settlement Fund, as and when legally required,

any tax payments, including interest and penalties due on income earned by the Settlement Fund. All

taxes (including any interest and penalties) due with respect to the income earned by the Settlement

Fund shall be paid from the Settlement Fund. Stipulating MLS has no responsibility to make any

filings relating to the Settlement Fund and will have no responsibility to pay tax on any income

earned by the Settlement Fund or to pay any taxes on the Settlement Fund unless the Settlement does

not become Effective and the Settlement Fund is returned to Stipulating MLS. In the event the

Settlement does not become Effective and any funds including interest or other income are returned

to Stipulating MLS, Stipulating MLS will be responsible for the payment of all taxes (including any

interest or penalties), if any, on said interest or other income.        Stipulating MLS makes no

representations regarding, and will not be responsible for, the tax consequences of any payments

made pursuant to this Settlement Agreement to Co-Lead Counsel or to any Settlement Class Member.

J.      Rescission

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       51.     If the Court does not certify the Settlement Class as defined in this Appendix D, or if

the Court does not approve this Appendix D in all material respects, or if such approval is modified

or set aside on appeal, or if the Court does not enter final approval, or if any judgment approving this

Appendix D is materially modified or set aside on appeal, or if all of the conditions for the Effective

Date do not occur, then this Appendix D may be rescinded by Stipulating MLS or by Plaintiffs on

behalf of the Settlement Class by written notice to the Court and to counsel for the other Settling

Party filed and served within ten (10) business days of the entry of an order not granting court

approval or having the effect of disapproving or materially modifying the terms of the Appendix D.

A modification or reversal on appeal of any amount of the Settlement Fund that the Court authorizes

to be used to pay Plaintiffs’ fees or litigation expenses shall not be deemed a modification of all or a

part of the terms of this Settlement or such final judgment order. The decision of certain Settlement

Class Members to opt out of the Settlement shall not be a basis for Stipulating MLS to rescind or

terminate the Appendix D.

       52.     If Appendix D is rescinded for any reason, then the balance of the Total Monetary

Settlement Amount in the Settlement Fund will be returned to Stipulating MLS.

       53.     Stipulating MLS warrants and represents that it is not “insolvent” within the meaning

of applicable bankruptcy laws as of the time this Appendix D is executed. In the event of a final

order of a court of competent jurisdiction, not subject to any further proceedings, determining the

transfer of the Total Monetary Settlement Amount, or any portion thereof, by or on behalf of

Stipulating MLS to be a preference, voidable transfer, fraudulent transfer or similar transaction under

Title 11 of the U.S. Code (Bankruptcy) or applicable state law and any portion thereof is required to

be refunded and such amount is not promptly deposited in the Escrow Account by or on behalf of

Stipulating MLS, then, at the election of Co-Lead Counsel, the Settlement Agreement may be

terminated and the releases given and the judgment entered pursuant to the Settlement shall be null

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and void.

        54.    The Settling Parties’ rights to terminate this Settlement and withdraw from Appendix

D are a material term of this Settlement.

        55.    Stipulating MLS reserves all of its legal rights and defenses with respect to any claims

brought by potential Opt-Out Sellers.

K.      Miscellaneous

        56.    This Appendix D and any actions taken to carry out the Settlement are not intended

to be, nor may they be deemed or construed to be, an admission or concession of liability, or of the

validity of any claim, defense, or point of fact or law on the part of any party. Stipulating MLS

denies the material allegations of the complaints in the Actions and in the other cases in In re Real

Estate Commission Antitrust Litigation (MDL No. 3100). Neither this Appendix D, nor the fact of

Settlement, nor settlement proceedings, nor the settlement negotiations, nor any related document,

shall be used as an admission of any fault or omission by Stipulating MLS, or be offered in evidence

as an admission, concession, presumption, or inference of any wrongdoing by Stipulating MLS in

any proceeding.

        57.    The terms of Appendix D are and shall be binding upon and inure to the benefit of, to

the fullest extent possible, each of Plaintiffs and Stipulating MLS, and upon all other Persons

claiming any interest in the subject matter hereto through any of the Settling Parties, Releasing

Parties, Released Parties, and any Settlement Class Members.

        58.    Any disputes between Stipulating MLS and Co-Lead Counsel concerning this

Appendix D shall, if they cannot be resolved, be presented first to an agreed mediator for assistance

in mediating a resolution and, if a resolution is not reached, to the Court.

        59.    The provisions of this Appendix D shall, where possible, be interpreted in a manner

to sustain their legality and enforceability.

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       60.     Any disputes relating to this Appendix D will be governed by Missouri law without

regard to conflicts of law provisions.

       61.     The Court shall retain jurisdiction over the implementation and enforcement of this

Settlement Agreement and Appendix D.

       62.     This Settlement Agreement and Appendix D constitute the entire agreement among

Plaintiffs and Stipulating MLS pertaining to the Settlement of any claims or potential claims against

Stipulating MLS. This Appendix D may be modified or amended only by a writing executed by

Plaintiffs and Stipulating MLS.

       63.     Stipulating MLS acknowledges that it has been and is being fully advised by

competent legal counsel of Stipulating MLS’s own choice and fully understands the terms and

conditions of this Settlement Agreement, including Appendix D, and the meaning and import thereof,

and that such Stipulating MLS’s execution of this Appendix D is with the advice of such Stipulating

MLS’s counsel and of such Stipulating MLS’s own free will. Stipulating MLS submits to the

exclusive jurisdiction of the Court for the purposes of interpreting and enforcing the terms of

Appendix D, including but not limited to, the practice changes contained therein. Stipulating MLS

represents and warrants that it has sufficient information regarding the transaction and the other

parties to reach an informed decision and has, independently and without relying upon the other

parties, and based on such information as it has deemed appropriate, made its own decision to enter

into this Settlement Agreement, including Appendix D, and was not fraudulently or otherwise

wrongfully induced to enter into this Appendix D.

       64.     Each of the undersigned attorneys represents that he or she is fully authorized to enter

into the terms and conditions of, and to execute, this Appendix D.




Date: ____ day of ________________, 2024

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____________________________

On behalf of __________________



ON BEHALF OF CO-LEAD COUNSEL


____________________________
Cohen Milstein Sellers & Toll PLLC




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